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                    GOVERNMENT EXHIBIT A
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                                         CONFIDENTIAL OFFERING MEMORANDUM




                                                         EarthWater Limited


                                               PRIVATE PLACEMENT OFFERING
                                                 10,000,000 COMMON SHARES

                                                 Price: US $0.50 Per Common Share
                                                         Maximum Offering:
                                                           US $5,000,000

This Offering Memorandum constitutes an offering of the securities described herein only to those persons in those jurisdictions to whom
they may be lawfully offered for sale, and therein only by persons permitted to sell such securities. This Offering Memorandum is not,
and under no circumstances is to be construed as, an advertisement or a public offering of the securities referred to in this document in
any jurisdiction. No securities commission or similar authority in any jurisdiction has reviewed or in any way passed upon this Offering
Memorandum or the merits of the securities described herein and any representation to the contrary is an offense.

The offering of Common Shares is being made solely by this Offering Memorandum and any decision to purchase Common Shares should
be based solely on information contained within this document. No person has been authorized to give any information or to make any
representations concerning this offering other than as contained herein.

This Offering Memorandum is for the confidential use of only those persons to whom it is delivered by EarthWater Limited (the
“Company”) in connection with the offering of the Common Shares. The Company reserves the right to reject all or part of any offer to
purchase the Common Shares for any reason or to allocate to any purchaser less than all of the Common Shares for which it has subscribed.

      THE SECURITIES OFFERRED HEREBY HAVE NOT BEEN REGISTERED UNDER THE UNITED STATES
       SECURITIES ACT OF 1933, AS AMENDED (THE "ACT"), AND MAY NOT BE RESOLD OR OTHERWISE
 TRANSFERRED UNLESS REGISTERED UNDER THE ACT OR AN AVAILABLE EXEMPTION THEREFROM UNDER
  THE ACT AND APPLICABLE STATE SECURITIES LAWS. THIS MEMORANDUM HAS NOT BEEN APPROVED OR
      DISAPPROVED BY THE UNITED STATES SECURITIES AND EXCHANGE COMMISION OR ANY STATE
     SECURITIES COMMISSION NOR HAS THE SECURITIES AND EXCHANGE COMMISSION OR ANY STATE
   SECURITIES COMMISSION PASSED UPON THE ACCURACY OR ADEQUACY OF THIS MEMORANDUM. ANY
                    REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.




                                       The date of this Offering Memorandum is January 1, 2019




                                                          EarthWater Ltd
                                                        www.EarthWater.com




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                                                              SUMMARY
You should read the following summary together with the more detailed information and the financial statements appearing elsewhere in
this Offering Memorandum. This Offering Memorandum contains forward-looking statements that involve risks and uncertainties. Our
actual results could differ materially from those anticipated in these forward-looking statements as a result of certain factors, including
those set forth under “Risk Factors” and elsewhere in this Offering Memorandum. Unless the context indicates or suggests otherwise,
references to “we,” “our,” “us,” or the “Company,” refer to EarthWater Limited, a UK Private corporation. References to “$” refer to
monetary amounts expressed in United States dollars.
Our Business
EarthWater Limited was formerly registered as a company in the name of EarthWater PLC under the provisions of the United Kingdom
Companies Act 2006 on April 20, 2012 as a privately held company which was later converted into a limited company in its current name
of EarthWater Limited on October 21, 2015. It has been registered with the Registrar of Companies for England / Wales and has its
registered office in London. The USA office of the company is situated in Addison, Texas.

This UK registered company formed different USA 100% wholly owned subsidiaries: EarthWater Inc., FulHum Inc., Zenful Inc., FulHum
Global Inc., and EWB International Inc. for ease of management and operations at later dates.
Mission Statement
At EarthWater Limited, our mission is to provide products that infuse valuable micronutrients into your body with poor unique, holistic,
natural ingredients supported by “Fulvic and Humic compounds”.
Specifically, the Company will offer a designer functional beverage with a proprietary, compelling, and innovative product that
management expects to achieve rapid global penetration through a network marketing distribution system to be implemented by the
Company. The Company will be dependent upon its team members, who bring years of experience and knowledge associated with
numerous highly-successful products and proprietary manufacturing processes.

Corporate Structure of EarthWater Limited




In the fiscal 2019, the Parent Company (EarthWater Limited) intends to enact a (one for one) share exchange of like shares in equal
ownership amounts for shares in EarthWater International Inc. (a Canadian Corporation) resulting in shares being held only in a
Canadian based entity.




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                                                         SUMMARY OF THE OFFERING

The following is a summary of the principal terms of this Offering. This summary is qualified in its entirety by reference to the subscription
agreement between the investor and the Company (“Subscription Agreement”) and the Articles of Incorporation of the Company dated
October 20, 2015, as amended (the “Articles of Incorporation” and together with the Subscription Agreement, the “Subscription
Documents”), all of which are available upon request and should be reviewed carefully prior to making an investment decision. If the
terms described in this summary or this Memorandum are inconsistent with or contrary to the terms described in the Subscription
Documents, the terms of the Subscription Documents will control.


 Issuer                                       EarthWater Limited, a UK registered Private Company
 Securities
                                              10,000,000 Common Shares


 Purchase Price                               US $0.50 Per Common Share


 Aggregate Investment Amount                  US $ 5,000,000 (US Dollars Ten Million)


 Placement Fee                                10% of the Gross proceeds


 Offering Period                              From January 1, 2019 to April 30, 2019 with a right on the part of the
                                              Company to extend the Closing for a period of up to one-hundred (120)
                                              days.
  Transferability of Shares
                                              The Offering is pursuant to exemption from registration under
                                              applicable federal and state securities laws. The Common Shares
                                              offered will not be transferable except pursuant to registration or
                                              registration exemptions under applicable federal and state securities act
                                              and laws.

 Voting Rights                                One vote per Common Share

 Investor Suitability                         Accredited Investors only, as such term is defined in Rule 501 under the
                                              U.S. Securities Act of 1933, as amended (the “Securities Act”).

 No minimum, deposit of subscription          The offering does not require a minimum level of subscriptions. The
 proceeds                                     proceeds of subscriptions received and accepted will be immediately
                                              deposited in the Company’s non-segregated checking account.

 Use of Proceeds                              Net Proceeds of US $ 4,500,000 to be used for new product inventory,
                                              support global foreign expansion, product inventories, marketing,
                                              working capital and professional fees. See “Use of Proceeds.”

 Risks                                        There are certain material risks associated with an investment in the
                                              Offering. Prospective investors should examine those risks closely and
                                              consult with their advisors before electing to purchase the Common
                                              Shares in this Offering. See “Risk Factors.”




SUMMARY OF FINANCIAL INFORMATION




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The following selected financial information is derived from the Company’s Financial Statements appearing elsewhere in this Offering
Memorandum and should be read in conjunction with the Company’s Financial Statements, including the notes thereto, appearing
elsewhere in this Offering Memorandum.

                                        Summarized Profit & Loss Account
                                                                2016                        2017                      2018
                                                               Historic                    Historic                 Unaudited


 Gross Revenue                                                   789                         240                       1,664
 Direct Cost                                                     143                         459                       1,468
 Gross Profit                                                    646                        (219)                       212

 SG&A Costs                                                     1,211                       1,420                      2,645

 Operating Profit                                                (565)                     (1,639)                    (2,434)

 Depreciation, Interest and Other                                 62                          41                         15
 Earnings before Taxes                                           (627)                     (1,680)                    (2,419)

 Income Taxes                                                      -                           -                          -

 Net (loss) / profit                                             (627)                     (1,680)                    (2,419)


 Balance Sheet                                                  2016                        2017                      2018
                                                               Historic                    Historic                 FYE 12.31


 Fixed assets (-) Depreciation                                    17                          37                         33
 Non-Current Assets                                             1,500                          -
 Current Assets                                                 2,422                        609                       1639
 Total Assets                                                   3,939                        646                       1,671

 Current Liabilities                                             355                         474                        669
 Non-current liabilities                                         820                         845                       1,500
 Share Capital                                                  2,764                       (674)                      (498)
 Total Liabilities                                              3,939                        646                       1,671


DISCLOSURE REGARDING FORWARD-LOOKING STATEMENTS
Except for statements of historical facts, this Offering Memorandum contains forward-looking statements involving risks and
uncertainties. The words “anticipate,” “believe,” “estimate,” “expect,” “future,” “intend,” “plan” or the negative of these
terms and similar expressions or variations thereof are intended to forward looking statements. Such statements reflect the
current view of the Company with respect to future events and are subject to risks, uncertainties, assumptions and other factors
(including the risks contained in the section of this Offering Memorandum entitled “Risk Factors”) relating to the Company’s
industry, the Company’s operations and results of operations and any businesses that may be acquired by the Company. Should
one or more of these risks or uncertainties materialize, or should the underlying assumptions prove incorrect, actual results
may differ significantly from those anticipated, believed, estimated, expected, intended or planned.
Although the Company believes that the expectations reflected in the forward-looking statements are reasonable, the Company
cannot guarantee future results, levels of activity, performance or achievements. Except as required by applicable law the
Company does not intend to update any of the forward-looking statements to conform these statements to actual results. The



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following discussion should be read in conjunction with the Company’s financial statements and the related notes included in
this Offering Memorandum.
Any investment in our securities involves a high degree of risk. Investors should carefully consider the risks described below
and all of the information contained in this Offering Memorandum before deciding whether to purchase our Common Shares.
Our business, financial condition or results of operations could be materially adversely affected by these risks if any of them
actually occur. This Offering Memorandum also contains forward-looking statements that involve risks and uncertainties. Our
actual results could differ materially from those anticipated in these forward-looking statements as a result of certain factors,
including the risks we face as described below and elsewhere in this Offering Memorandum.


RISK FACTORS
        Risks Related to our Financial Condition

        We have incurred significant losses to date and may continue to incur losses.

        We have incurred net losses since we commenced operations. For the year ended December 31, 2018, as reported in
        our unaudited December 31, 2018 financial statements, our net loss was $2,419,000. We have incurred net losses in
        each fiscal year since our inception. We had net losses of $627,000 and $1,680,000 for the years ended December 31,
        2016 and 2017, respectively.

        We had an accumulated deficit of $498,000 as of December 31, 2018. These losses have had, and likely will continue
        to have, an adverse effect on our working capital, assets, and equity. In order to achieve and sustain such revenue
        growth in the future, we must significantly expand our market presence and revenues from existing and new
        customers. We may continue to incur losses in the future and may never generate revenues sufficient to become
        profitable or to sustain profitability. Continuing losses may impair our ability to raise the additional capital required
        to continue and expand our operations.


         We will need to raise additional capital.

         We are currently expanding our relationship with Amazon will require substantial capital to grow our business. Any
         failure to generate revenues or sustain positive cash flows in sufficient amounts to fund our business operations may
         result in the need to secure additional financing beyond this offering in order to support our operations. We can
         provide no assurances that any additional sources of financing will be available to us on favorable terms, if at all.
         Our forecast of the period of time through which our current financial resources will be adequate to support our
         operations and the costs to support our general and administrative, selling and marketing and research and
         development activities are forward-looking statements and involve risks and uncertainties.

         We may also need to raise additional capital to expand our business to meet our long-term business objectives.
         Additional financing, which is not in place at this time, may come from the sale of equity or convertible or other debt
         securities in a public or private offering, from a credit facility or strategic partnership coupled with an investment in
         us or a combination of both. We may be unable to raise sufficient additional financing on terms that are acceptable to
         us, if at all. Our failure to raise additional capital and in sufficient amounts may significantly impact our ability to
         expand our business.

         Risks Related to our Business

         Growth of operations will depend on the acceptance of our products and consumer discretionary spending.

         The acceptance of our healthy functional beverage products by our customers is critically important to our success.
         Shifts in user preferences away from our products, our inability to develop effective healthy beverage products that
         appeal to consumers, or changes in our products that eliminate items popular with some consumers could harm our
         business. Also, our success depends to a significant extent on discretionary user spending, which is influenced by
         general economic conditions and the availability of discretionary income. Accordingly, we may experience an inability
         to generate revenue during economic downturns or during periods of uncertainty, where users may decide to purchase
         beverage products that are cheaper or to forego purchasing any type of healthy beverage products, due to a lack of




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available capital. Any material decline in the amount of discretionary spending could have a material adverse effect
on our sales, results of operations, business and financial condition.

We cannot be certain that the products that we offer will become, or continue to be, appealing and as a result there
may not be any demand for these products and our sales could decrease, which would result in a loss of revenue.
Additionally, there is no guarantee that interest in our products will continue, which could adversely affect our business
and revenues.

Demand for products which we sell depends on many factors, including:

●   the number of customers we are able to attract and retain over time;

●   the competitive environment in the healthy beverage industry, as well as the beverage industry as a whole, may
    force us to reduce prices below our desired pricing level or increase promotional spending; and

●   the ability to anticipate changes in user preferences and to meet customers’ needs in a cost-effective manner;

All of these factors could result in immediate and longer-term declines in the demand for the products we plan to offer,
which could adversely affect our sales, cash flows and overall financial condition. An investor could lose his or her
entire investment as a result.

We have limited management resources and are dependent on key executives.

We are currently relying on key individuals to continue our business and operations and, in particular, the professional
expertise and services of Mr. CJ Comu, Chief Executive Officer, Mr. Buddy Barnes, Chief Financial Officer, and Mr.
Cash Riley, Jr., President, who are key members of our executive management team and others in key management
positions. We plan to appoint additional independent directors, however, until any potential additional directors or
officers are appointed, we may not have sufficient managerial resources to successfully manage the increased business
activity envisioned by our business strategy. In addition, our future success depends in large part on the continued
service of Mr. Comu. If our officers and directors chose not to serve or if they are unable to perform their duties, and
we are unable to retain a replacement qualified individual or individuals, this could have an adverse effect on our
business operations, financial condition and operating results if we are unable to replace the current officers and
directors with other qualified individuals.

Competition that we face is varied and strong.

Our products and industry as a whole are subject to competition. There is no guarantee that we can develop or sustain
a market position or expand our business. We anticipate that the intensity of competition in the future will increase.

We compete with a number of entities in providing products to our customers. Such competitor entities include: (1) a
variety of large multinational corporations engaged in the beverage and healthy beverage industries, including but not
limited to companies that have established loyal customer bases over several decades; (2) healthy beverage companies
that have an established customer base, and have the same or a similar business plan as we do and may be looking to
expand nationwide; and (3) a variety of other local and national healthy beverage companies with which we either
currently or may, in the future, compete.

Many of our current and potential competitors are well established and have longer operating histories, significantly
greater financial and operational resources, and greater name and brand recognition than we have. As a result, these
competitors may have greater credibility with both existing and potential customers. They also may be able to offer
more products and more aggressively promote and sell their products. Our competitors may also be able to support
more aggressive pricing than we will be able to, which could adversely affect sales, cause us to decrease our prices to
remain competitive, or otherwise reduce the overall gross profit earned on our products.

Our industry requires the attraction and retention of talented employees.




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Success in the beverage industry, specifically as it relates to our healthy functional beverage products, does and will
continue to require the acquisition and retention of highly talented and experienced individuals. Due to the growth in
the market segment targeted, such individuals and the talent and experience they possess is in high demand. There is
no guarantee that we will be able to attract and maintain access to such individuals. If we fail to attract, train, motivate
and retain talented personnel, our business, financial condition, and operating results may be materially and adversely
impacted, which could result in the loss of your entire investment.

We depend on a limited number of suppliers of raw and packaging materials.

We rely upon a limited number of suppliers for raw and packaging materials used to make and package our products.
Our success will depend in part upon our ability to successfully secure such materials from suppliers that are delivered
with consistency and at a quality that meets our requirements. The price and availability of these materials are subject
to market conditions. Increases in the price of our products due to the increase in the cost of raw materials could have
a negative effect on our business.

If we are unable to obtain sufficient quantities of raw and packaging materials, delays or reductions in product
shipments could occur which would have a material adverse effect on our business, financial condition and results of
operations. The supply and price of raw materials used to produce our products can be affected by a number of factors
beyond our control, such as frosts, droughts, other weather conditions, economic factors affecting growing decisions,
and various plant diseases and pests. If any of the foregoing were to occur, no assurance can be given that such
condition would not have a material adverse effect on our business, financial condition and results of operations. In
addition, our results of operations are dependent upon our ability to accurately forecast our requirements of raw
materials. Any failure by us to accurately forecast its demand for raw materials could result in an inability to meet
higher than anticipated demand for products or producing excess inventory, either of which may adversely affect our
results of operations.

We depend on Amazon and a small number of retailers for a significant portion of our sales.

Food and beverage retailers in the U.S. and other markets have been consolidating, resulting in large, sophisticated
retailers with increased buying power. They are in a better position to resist our price increases and demand lower
prices. They also have leverage to require us to provide larger, more tailored promotional and product delivery
programs. If we and our bottlers and distributors do not successfully provide appropriate marketing, product,
packaging, pricing and service to these retailers, our product availability, sales and margins could suffer. Amazon will
make up a significant percentage of our products’ retail volume, including volume sold by our bottlers and distributors.
Amazon also offers products that compete with some of our brands. The loss of sales of any of our products by Amazon
or another major retailer could have a material adverse effect on our business and financial performance.

We depend on third party manufacturers for a portion of our business.

A portion of our sales revenue is dependent on third party manufacturers that we do not control. The majority of these
manufacturers’ business comes from producing and/or selling either their own products or our competitors’ products.
As independent companies, these manufacturers make their own business decisions. They may have the right to
determine whether, and to what extent, they manufacture our products, our competitors’ products and their own
products. They may devote more resources to other products or take other actions detrimental to our brands. In most
cases, they are able to terminate their manufacturing arrangements with us without cause. We may need to increase
support for our brands in their territories and may not be able to pass on price increases to them. Their financial
condition could also be adversely affected by conditions beyond our control, and our business could suffer as a result.
Deteriorating economic conditions could negatively impact the financial viability of third party manufacturers. Any
of these factors could negatively affect our business and financial performance.

Failure of third-party distributors upon which we rely could adversely affect our business.

We rely heavily on third party distributors for the sale of our products to retailers. The loss of a significant distributor
could have a material adverse effect on our business, financial condition and results of operations. Our distributors
may also provide distribution services to competing brands, as well as larger, national or international brands, and
may be to varying degrees influenced by their continued business relationships with other larger beverage, and



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specifically, healthy beverage companies. Our independent distributors may be influenced by a large competitor if
they rely on that competitor for a significant portion of their sales. There can be no assurance that our distributors will
continue to effectively market and distribute our products. The loss of any distributor or the inability to replace a
poorly performing distributor in a timely fashion could have a material adverse effect on our business, financial
condition and results of operations. Furthermore, no assurance can be given that we will successfully attract new
distributors as they increase their presence in their existing markets or expand into new markets.

Substantial disruption to production at our manufacturing and distribution facilities could occur.

A disruption in production at our beverage manufacturing facility could have a material adverse effect on our business.
In addition, a disruption could occur at any of our other facilities or those of our suppliers, bottlers or distributors. The
disruption could occur for many reasons, including fire, natural disasters, weather, water scarcity, manufacturing
problems, disease, strikes, transportation or supply interruption, government regulation, cybersecurity attacks or
terrorism. Alternative facilities with sufficient capacity or capabilities may not be available, may cost substantially
more or may take a significant time to start production, each of which could negatively affect our business and financial
performance.

We are not subject to seasonality related to sales of our products.

Our business is not subject to substantial seasonal fluctuations. Historically, a significant portion of our net sales and
net earnings has been realized during the period from May through September. Accordingly, our operating results may
vary significantly from quarter to quarter. Our operating results for any particular quarter are not necessarily indicative
of any other results. If for any reason our sales were to be substantially below seasonal norms, our annual revenues
and earnings could be materially and adversely affected.



We may fail to comply with applicable government laws and regulations.

We are subject to a variety of federal, state and local laws and regulations in the U.S. These laws and regulations apply
to many aspects of our business including the manufacture, safety, labeling, transportation, advertising and sale of our
products. Violations of these laws or regulations in the manufacture, safety, labeling, transportation and advertising
of our products could damage our reputation and/or result in regulatory actions with substantial penalties. In addition,
any significant change in such laws or regulations or their interpretation, or the introduction of higher standards or
more stringent laws or regulations, could result in increased compliance costs or capital expenditures. For example,
changes in recycling and bottle deposit laws or special taxes on our beverages and our ingredients could increase our
costs. Regulatory focus on the health, safety and marketing of beverage products is increasing. Certain federal or state
regulations or laws affecting the labeling of our products are or could become applicable to our products.

We face various operating hazards that could result in the reduction of our operations.

Our operations are subject to certain hazards and liability risks faced by beverage companies that manufacture and
distribute water products, such as defective products, contaminated products and damaged products. The occurrence
of such a problem could result in a costly product recall and serious damage to our reputation for product quality, as
well as potential lawsuits. Although we maintain insurance against certain risks under various general liability and
product liability insurance policies, no assurance can be given that our insurance will be adequate to fully cover any
incidents of product contamination or injuries resulting from our operations and our products. We cannot assure you
that we will be able to continue to maintain insurance with adequate coverage for liabilities or risks arising from our
business operations on acceptable terms. Even if the insurance is adequate, insurance premiums could increase
significantly which could result in higher costs to us.

Litigation and publicity concerning product quality, health and other issues could adversely affect our results of
operations, business and financial condition.

Our business could be adversely affected by litigation and complaints from customers or government authorities
resulting from product defects or product contamination. Adverse publicity about these allegations may negatively




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affect us, regardless of whether the allegations are true, by discouraging customers from buying our products. We
could also incur significant liabilities, if a lawsuit or claim results in a decision against us, or litigation costs, regardless
of the result. Further, any litigation may cause our key employees to expend resources and time normally devoted to
the operations of our business.

Risks Related to our Intellectual Property

It is difficult and costly to protect our proprietary rights.

Our commercial success will depend in part on obtaining and maintaining trademark protection and trade secret
protection of our products and brands, as well as successfully defending these trademarks against third-party
challenges. We will only be able to protect our intellectual property related to our trademarks and brands to the extent
that we have rights under valid and enforceable trademarks or trade secrets that cover our products and brands.
Changes in either the trademark laws or in interpretations of trademark laws in the U.S. and other countries may
diminish the value of our intellectual property. Accordingly, we cannot predict the breadth of claims that may be
allowed or enforced in our issued trademarks or in third-party patents. The degree of future protection for our
proprietary rights is uncertain because legal means afford only limited protection and may not adequately protect our
rights or permit us to gain or keep our competitive advantage.

We may face intellectual property infringement claims that could be time-consuming and costly to defend, and
could result in our loss of significant rights and the assessment of treble damages.

From time to time we may face intellectual property infringement, misappropriation, or invalidity/non-infringement
claims from third parties. Some of these claims may lead to litigation. The outcome of any such litigation can never
be guaranteed, and an adverse outcome could affect us negatively. For example, were a third party to succeed on an
infringement claim against us, we may be required to pay substantial damages (including up to treble damages if such
infringement were found to be willful). In addition, we could face an injunction, barring us from conducting the
allegedly infringing activity. The outcome of the litigation could require us to enter into a license agreement which
may not be under acceptable, commercially reasonable, or practical terms or we may be precluded from obtaining a
license at all. It is also possible that an adverse finding of infringement against us may require us to dedicate substantial
resources and time in developing non-infringing alternatives, which may or may not be possible. In the case of
diagnostic tests, we would also need to include non-infringing technologies which would require us to re-validate our
tests. Any such re-validation, in addition to being costly and time consuming, may be unsuccessful.

Finally, we may initiate claims to assert or defend our own intellectual property against third parties. Any intellectual
property litigation, irrespective of whether we are the plaintiff or the defendant, and regardless of the outcome, is
expensive and time-consuming, and could divert our management’s attention from our business and negatively affect
our operating results or financial condition.

We may be subject to claims by third parties asserting that our employees or we have misappropriated their
intellectual property, or claiming ownership of what we regard as our own intellectual property.

Although we try to ensure that we, our employees, and independent contractors do not use the proprietary information
or know-how of others in their work for us, we may be subject to claims that we, our employees, or independent
contractors have used or disclosed intellectual property in violation of others’ rights. These claims may cover a range
of matters, such as challenges to our trademarks, as well as claims that our employees or independent contractors are
using trade secrets or other proprietary information of any such employee’s former employer or independent
contractors. As a result, we may be forced to bring claims against third parties, or defend claims they may bring against
us, to determine the ownership of what we regard as our intellectual property. If we fail in prosecuting or defending
any such claims, in addition to paying monetary damages, we may lose valuable intellectual property rights or
personnel. Even if we are successful in prosecuting or defending against such claims, litigation could result in
substantial costs and be a distraction to management.




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Risks Related to our Common Shares and this Offering

There is no active market for the Company’s securities

Currently, no active market exists for the Common Shares and there is no assurance that an active trading market will
ever develop or, if developed, that it will be sustained. A purchaser of the Common Shares may, therefore, be unable
to resell the purchased securities. Consequently, holders of the Common Shares may not be able to liquidate their
investment in the event of an emergency or for any other reason, and the purchased securities may not be readily
accepted as collateral for a loan. Therefore, proposed investors are advised that the purchase of the Common Shares
should be considered only as a long-term and speculative high-risk investment. Due to the absence of a public market
for the purchased securities: (i) investors may not be able to liquidate their investment in the event of an unexpected
need for cash; (ii) transferability of the purchased securities is extremely limited; and (iii) in the event of a disposition
of the purchased securities, the investor could sustain a loss of all or any part of his investment.

Our directors and officers will continue to exercise significant control over our operations.

In aggregate, our management and board of directors, currently hold 37.63% of the combined voting power of our
Common Shares and due to an anti-dilution agreement will hold the same percentage of the voting power of our
Common Shares following this offering. Accordingly, our executive officers and directors will continue to have a
significant influence in determining the outcome of all corporate transactions, including the election of directors,
approval of significant corporate transactions, changes in control of the Company or other matters that could affect
your ability to ever resell your Shares. Their interests may differ from the interests of the other stockholders and thus
result in corporate decisions that are disadvantageous to other stockholders.



We may issue Preferred Stock with voting and conversion rights that could adversely affect the voting power of
the holders of Common Shares.

Although we presently have no intention to do so without stockholder approval, which may be obtained solely through
the votes of its management and board of directors, the Board may issue preferred stock with voting and conversion
rights that could adversely affect the voting power of the holders of Common Shares. Any such provision may be
deemed to have a potential anti-takeover effect, and the issuance of preferred stock in accordance with such provision
may delay or prevent a change of control of the Company. The board of directors also may declare a dividend on any
outstanding shares of preferred stock. All outstanding shares of preferred stock are fully paid and non-assessable.

We have not, and may never pay dividends to shareholders.

We have not declared or paid any cash dividends or distributions on our capital stock. We currently intend to retain
our future earnings, if any, to support operations and to finance expansion and therefore we do not anticipate paying
any cash dividends on our Common Shares in the foreseeable future.

The declaration, payment and amount of any future dividends will be made at the discretion of the board of directors,
and will depend upon, among other things, the results of our operations, cash flows and financial condition, operating
and capital requirements, and other factors as the board of directors considers relevant. There is no assurance that
future dividends will be paid, and, if dividends are paid, there is no assurance with respect to the amount of any such
dividend. If we do not pay dividends, our Common Shares may be less valuable because a return on an investor’s
investment will only occur if our stock price appreciates.

If you purchase shares of Common Shares in this offering, you will suffer immediate dilution of your investment.

The offering price of our Common Shares will be substantially higher than the net tangible book value per share of
our Common Shares. Therefore, if you purchase shares of our Common Shares in this offering, you will pay a price
per share that substantially exceeds our net tangible book value per share after this offering. To the extent additional
shares of Common Shares are subsequently issued, you will incur further dilution.




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We have broad discretion in the use of the net proceeds from this offering and may not use them effectively.

We cannot specify with certainty all of our potential uses for the estimated $9,000,000 in net proceeds we will receive
from this offering. Our management will have broad discretion in the application of the net proceeds. Accordingly,
you will have to rely upon the judgment of our management with respect to the use of the proceeds, with only limited
information concerning management’s specific intentions. Our management may spend a portion or all of the net
proceeds from this offering in ways that our stockholders may not desire or that may not yield a favorable return. The
failure by our management to apply these funds effectively could harm our business. Pending its use, we may invest
the net proceeds from this offering in a manner that does not produce income or that loses value.


                                               USE OF PROCEEDS
The Company intends to use the proceeds of this offering for the following purposes:


                                           Use of Proceeds                                      Amount in
                                                                                                  US$
          Product Manufacturing                                                                  2,000,000
          Marketing – Branding - Promotion                                                        1,500,000
          Working Capital                                                                         1,000,000
          Investment Banking Services                                                              500,000
          Total                                                                                  5,000,000


                                   DETERMINATION OF OFFERING PRICE


The offering price of the Common Shares has been determined by the Board of Directors without any independent
valuation. There is no relationship whatsoever between this price and our assets, results of operations, book value or
any other objective criteria of value.
                           DESCRIPTION OF BUSINESS – MISSION STATEMENT
At EarthWater Limited, is a health and wellness company with a mission to change and improve people’s lives with
products that infuse valuable micronutrients into your body with poor unique, holistic, natural ingredients supported
by “Fulvic and Humic compounds”.
Specifically, the Company offers products and functional beverages with proprietary, compelling, and innovative
methods that management expects to achieve rapid global penetration through a network marketing distribution system
to be implemented by the Company. The Company will be dependent upon its team members, who bring years of
experience and knowledge associated with numerous highly-successful products and proprietary manufacturing
processes.




Beverage Market Overview

Innovations in flavored water with reduced or no sugar and functional water with natural ingredients helped the global
bottled market register a 7% compound annual growth rate from 2005 to 2015, according to a Zenith International
webinar on September 15. Growth should continue at 6% to 7% this year and over the next few years, said Esther
Renfrew, marketing intelligence director for Bath-based Zenith International. Opportunity for more growth arises in
bottled water, she added.




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Global bottled water volume came in at 375 billion liters in 2015, up from 190 billion liters in 2005, according to the
Zenith International research covering 72 countries.

Bottled water made up 17% of total beverage volume globally in 2015, which compared to 14% in 2010. Only tea, at
22% in both 2010 and 2015, led bottled water in 2015. Bottled water globally grew by 97 billion liters in total from
2010 to 2015. Tea, growing by 55 billion liters, was second in volume growth among all beverages. “Water is
outpacing, in terms of value, any of the other categories by a significant amount,” Ms. Renfrew said.




The category is taking share from other beverage categories, particularly carbonated soft drinks, which fell to 12% of
total beverage volume globally in 2015 from 13% in 2010. Within the bottled water category, global sales of flavored
water rose 4% in 2015 to reach 7.5 billion liters. Zenith International expects the category to reach 9.5 billion liters by
2020. Sugar-free flavored water has sparked volume growth, Ms. Renfrew said.




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Other key themes in flavored
water include plain water brand
extensions, natural and organic,
premium positioning, fruit
flavors, herbs or flowers,
transition products, child-
oriented products, and packaging
innovation, according to Zenith
International. The functional
bottled water market was not
doing well in 2008 and 2009, but
it has rebounded, Ms. Renfrew
said. Volume grew 12% in 2015
to reach 5.5 billion liters.

The carbonated beverage industry
is experiencing some major
changes heading into 2017. Sugary sodas are under fire and juice sales are slipping. Many of the brightest points are
new brands and beverages that no one had heard of a few years ago. Bottled water, functional drinks and flavored non-
sugary beverage are to watch out for in the industry in 2017 and beyond, according to some of the biggest executives
and experts in the business. Even the CEO of soft-drink giant PepsiCo, Indra Nooyi, admits that focusing solely on
carbonated soft drinks is “a thing of the past”.

On the other hand, the players in bottled water industry operate in a cut-throat price based competition and simply
ignore or rather destroy the real minerals with inexpensive filtration processes the implications of which is indeed
frightening for our health which scientifically proven to lead to unstable heart rates, uncontrolled blood pressure, ill
maintained insulin sensitivity and poor regulation of over 300 different enzymes. Our human ancestors evolved in a
world in which healthy drinking water came directly from streams, rivers, and lakes, rich in mineral content. The
human body became reliant on obtaining a considerable proportion of its daily mineral needs from natural water
sources. Fast-forward to the twenty-first century, we obtain drinking water from a spigot or a plastic bottle. Pesticides
and other chemicals seeping into the water supply have made everyone suspicious of water quality. As a result,
municipal water-purification facilities have intensified their efforts to remove contaminants like lead, pesticide
residues, and nitrates from drinking water. Unfortunately, these modern water-treatment methods also deplete drinking
water of desirable minerals like calcium and magnesium. Regular tap water, which tastes bad, is also devoid of the
critical minerals. We might drink the scientifically prescribed 8 glasses a day but sadly we don’t drink any minerals.

EarthWater offers a great sustainable alternative to both sugary carbonated beverages as well as the bottled water with
no minerals. EarthWater has FULHUM is blackwater, containing Fulvic and Humic compounds containing 77 trace
minerals, which you can actually see. FULHUM tastes like what water is supposed to taste and in real sense quenches
the thirst in human body, since it’s not simply the thirst for water that the body craves for, it’s the essential minerals
that it really seeks.

On the other hand, EarthWater has introduced Fulvic infused ZENFUL, which is zero calorie, functional beverage,
with no additives and preservatives. Zenful not only provides the soda drinking sensation but also injects the essential
minerals that our body needs. Zenful which comes in for alternative combination of flavors is the only sustainable
alternative to all sugary beverages as well as to all sorts of energy drinks.

Diet Soda Business in Freefall

Sales volumes of full-calorie Coke, the top-selling U.S. soda, slipped 0.5% last year but Diet Coke plunged 6.8%,
according to Beverage Digest. Coca-Cola Co., whose soda brands also include Sprite and Fanta, increased its market
share of U.S. carbonated soft drinks to 42.4% from 42.0% in 2012, according to Beverage Digest. PepsiCo, which
also counts Mountain Dew among its brands, slipped to 27.7% from 28.1%. Dr. Pepper Snapple's share inched up to
16.9% from 16.




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Consumers desperately seek alternatives

As consumers are rapidly ditching the sugary beverages, they are fascinated with anything that is healthy enough- with
no preservatives, no sweetening agents and that is very low in calories. As of the date of this Offering Memorandum,
coconut water (sweetened and unsweetened) is the chief beneficiary of this trend. Technavio’s market research analyst
                                                                   projects the global coconut water market to grow at
                                                                   a CAGR of around 25%, in terms of revenue during
                                                                   the forecasting period. The global coconut water
                                                                   market is signified by the presence of a small number
                                                                   of suppliers. Vita-Coco, a leading provider,
                                                                   dominates the market in terms of revenue. The low
                                                                   capital cost involved in setting up the bottling plant
                                                                   for coconut water is anticipated to attract smallscale
                                                                   industries to this market. Top Vendors are, i)
                                                                   PepsiCo ii) Coca-Cola and iii) Vita Coco. The
                                                                   sweetened coconut water segment dominated the
                                                                   market during 2014. However, this research report
                                                                   predicts the unsweetened segment to witness the
                                                                   fastest growth at a rate of 22 % during the forecast
                                                                   period. As consumers prefer natural products with
low sugar content, the unsweetened coconut water market is expected to observe increased sales. The US was the
largest consumer in this region as a result of the increased health consciousness among the consumers. New product
innovations by vendors such as the flavored coconut water are also expected to drive the market growth in this region
during the forecast period.




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Top Bottled Water Players




The Company’s Advantage- Fulvic and Humic Acids

Humic substances in soils and sediments can be divided into three main fractions: Humic acids, Fulvic acids, and
Humin. The Humic and Fulvic acids are extracted as a colloidal sol from soil and other solid phase sources into a
strongly basic aqueous solution of sodium hydroxide or potassium hydroxide. Humic acids are precipitated from this
solution by adjusting the pH to 1 with hydrochloric acid, leaving the Fulvic acids in solution. This is the operational
distinction between Humic and Fulvic acids. Humin is insoluble in dilute alkali. The alcohol-soluble portion of the
Humic fraction is, in general, named ulmic acid. So-called "gray Humic acids" (GHA) are soluble in low-ionicstrength
alkaline media; "brown Humic acids" (BHA) are soluble in alkaline conditions independent of ionic strength; and
Fulvic acids (FA) are soluble independent of pH and ionic strength.

Management believes that Fulvic acid is one of the most important new developments in the functional beverage
market. It is an acid created in extremely small amounts by the action of millions of beneficial microbes, working on
                                                      decaying plant matter in a soil environment with adequate
                                                      oxygen. Fulvic acid is part of the Humic structure in rich
                                                      composting soil. Fulvic acids contain a vast amount of naturally
                                                      occurring bio-chemicals,supercharged antioxidants, free
                                                      radical scavengers, super oxide dismutases ("SOD"), nutrients,
                                                      enzymes, hormones, amino acids, natural antibiotics, natural
                                                      antivirals, and natural fungicides. It is of low molecular weight
                                                      and is biologically very active. Because of its low molecular
                                                      weight, it has the ability to readily bond minerals and elements
                                                      into its molecular structure causing them to dissolve and
                                                      become mobilized Fulvic complexes.

Fulvic acid from Humic (or humate) deposits usually carries 70 or more minerals and trace elements dissolved into its
molecular complexes. These are then in ideal natural form to be absorbed and interact with living cells. Plants roots
and cells readily absorb high amounts of Fulvic acid, and maintain it in their structure. In fact it has been discovered
that these Fulvic acid complexes are absolutely essential for plants to be healthy.

“Fulvic Acid” (not to be confused with Folic Acid) is rapidly being recognized as one of the key elements in many
outstanding health and scientific breakthroughs of the 21st century. More and more scientists and doctors throughout
the world are discovering Fulvic acid and are recognizing its extraordinary potential. Interest in the medical community
has been escalating rapidly. In the past only very small amounts of Fulvic acid had been available for scientific testing.
Most of the studies to date have been done on plant cells. In reviewing and evaluating these reports, it is important to
bear in mind that leading scientists like Roger J. Williams, recognize and agree with the following fact: “The building




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blocks present in the metabolic machinery of human beings are, in the great majority of cases, exactly the same as the
building blocks contained in the metabolic machinery of other organisms of extremely different types.” Although the
majority of research and experimentation that has been done on Fulvic acid is in relation to plants, it is important to
realize that human beings have been ingesting Fulvic acid complexes regularly for over 60 years in supplemental form,
and for thousands of years from natural food and plant sources.

                                                         The new discoveries involving Fulvic acid are very similar in
                                                         nature to the recent important discoveries of valuable
                                                         phytochemicals in vegetables that have always existed, but were
                                                         hitherto unknown. Fulvic acid has always occurred naturally in
                                                         organic plants and soils, yet its recent discovery and tremendous
                                                         value is now just beginning to be recognized. As created by
                                                         nature, organic Fulvic acids are created by soil-based
                                                         microorganisms ("SBO's") to make minerals and other nutrients
                                                         assimilable by plants. (The SBO's consume decayed prehistoric
                                                         plant matter in humate deposits and excrete the substance known
                                                         as "Fulvic acid", or "Fulvic acids".) The complex photosynthetic
                                                         reactions - produced in all plants - produce the nutritional
                                                         components needed for all the various parts of the plants. Muco-
                                                         polysaccharides (a class of carbohydrates such as starches and
                                                         cellulose) flow throughout the plant as nourishment and some
                                                         of this is returned to the roots where the soil-based micro-
                                                         organisms are re-nourished to produce additional Fulvic acid
                                                         which combines with minerals and other nutrients in the soil to
                                                         continue the cycle. Fulvic acids are a biologically active mixture
                                                         of weak aliphatic and aromatic organic acids which are soluble
                                                         in water and all pH conditions (acidic, neutral, and alkaline).
                                                         The size of Fulvic acids are smaller (and of lower molecular
weight) than that of Humic acids, with molecular weights which range from approximately 1,500 or less. Fulvic acid
is an organic natural electrolyte that can balance and energize biological properties it comes into contact with. An
electrolyte is a substance that is soluble in water or other appropriate medium that is capable of conducting electrical
current. Each molecule of Fulvic acid contains 14 carbon atoms, 12 hydrogen atoms and 8 oxygen atoms. While linked
together, those atoms do not form a long chain. Instead, each molecule of Fulvic acid assumes the shape of a ring
which causes it to have not only a strong aromatic quality, but also the high energy properties normally associated
with healthy soil.

The power of an electrolyte has been shown in repeated tests on animal cells (giant amoebae), to be able to restore
life. When the electrolyte potential was taken away during the test, the cell ruptured and disintegrated into the
surrounding fluid causing death. Upon reintroducing electrical potential, the cell reconstructed and became active and
healthy.




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It was also determined from these same studies, that similar results could be expected of the progressive weakness
among humans that results from unchecked hemorrhage, overwhelming emotional stress, uncontrolled infections,
unbalanced diet, prolonged loss of sleep, and surgical shock. These examples are all accompanied by a steady decrease
in electrical potential that can eventually be reduced to zero at death. These studies show convincingly that that the
physical well-being of plants, animals, and humans is
determined by proper electrical potential.

Fulvic acid has proven to be a powerful organic
electrolyte, serving to balance cell life. If the individual
cell is restored to its normal chemical balance and
thereby in turn its electrical potential, we have given
life where death and disintegration would normally
occur within plant and animal cells. Fulvic acid has the
outstanding ability to accomplish this objective in
numerous ways.

Benefits of Fulvic and Humic Acids

Promotes Electrochemical Balance As Donor Or
Receptor. Fulvic acid is available at times as an
electron donor and at other times as an electron
acceptor, based on the cell's requirements for balance.
One of the reactions that occurs is always an oxidation
reaction in which the chemical species loses electrons
as a donor. The other reaction is a reduction in which
the active species gains electrons as an acceptor. A
recent study of the binding of a donor molecule to
Fulvic acid in solution revealed direct evidence for
donor-acceptor charge-transfer mechanisms. Trace
minerals in the Fulvic acid electrolyte could also be
beneficial in this process by serving as electrodes.

One of the most powerful natural free radical scavengers & antioxidants ever known. Free radicals of Fulvic acid
behave as electron donors or acceptors, depending upon the need for balance in the situation. Fulvic acid can in the
same way take part in oxidation reduction reactions with transition metals. Fulvic acid is especially active in dissolving
minerals and metals when in solution with water. The metallic minerals simply dissolve into ionic form, and disappear
into the Fulvic structure becoming bio-chemically reactive and mobile. The Fulvic acid actually transforms these
minerals and metals into elaborate Fulvic acid molecular complexes that have vastly different characteristics from
their previous metallic mineral form.

Fulvic acid also has the unique ability to weather and dissolve silica that it comes into contact with. Fulvic acid
enhances the availability of nutrients and makes them more readily absorbable. It also allows minerals to
regenerate and prolongs the residence time of essential nutrients. It prepares nutrients to react with cells. It allows
nutrients to inter-react with one another, breaking them down into the simplest ionic forms chelated by the Fulvic acid
electrolyte. Fulvic acid readily complexes with minerals and metals making them available to plant roots and easily
absorbable through cell walls. It makes minerals such as iron, which are not usually very mobile, easily transported
through plant structures. Fulvic acids also dissolve and transport vitamins, coenzymes, auxins, hormones, and natural
antibiotics that are generally found throughout the soil, making them available. These substances are effective in
stimulating even more vigorous and healthy growth. These substances are produced by certain bacteria, fungi, and
actinomycetes in decomposing vegetation in the soil. It has been determined that all known vitamins can be present in
healthy soil Plants manufacture many of their own vitamins, yet these from the soil further supplement the plant. Upon
ingestion these nutrients are easily absorbed by animals and humans, due to the fact that they are in the perfect natural
plant form as nature intends. Fulvic acid can often transport many times its weight in dissolved minerals and elements.
Fulvic acid has close association with enzymes and hence catalyzes Enzyme Reactions. It increases activity of
enzymes, and especially influences respiratory catalysts. Fulvic acids increase the activity of several enzymes
including alkaline phosphates, transaminase, and invertase. A Fulvic acid metal organic complex are of a low
molecular weight and thus increases assimilation, and because of this they are also of low molecular size, and are
capable of a high degree of penetration into cells. Fulvic acid complexes and chelates are able to readily pass through
semi-permeable membranes such as cell walls. Yet it is important to note that it has also been determined that Fulvic




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acids not only have the ability to transport nutrients through cell membranes, they also have the ability to sensitize
cell membranes and various physiological the membranes and various physiological functions as well.

These soluble sugars increase the pressure of osmosis inside the cell wall and enable plants to withstand wilting. Fulvic
acid enhances growth and may stimulate the immune system. An important aspect of Humic substances is related to
their sorptive interaction with environmental chemicals and pollutants, either before or after they reach concentrations
toxic to living organisms. Radioactive substances react rapidly with Fulvic acid, and only a brief time is required for
equilibrium to be reached. All radioactive elements are capable of reacting with Fulvic acid and thus forming
organometal complexes of different adsorptive stability and solubility. Dissolves Silica Fulvic acids are especially
important because of their ability to complex or chelate metal

ions and interact with silica. It has been shown that these interactions may increase the concentrations of metal ions
and silica found in water solutions to levels that are far in excess of their assumed dissolution ability.

Fulvic acid relieves oxygen deficiency and increases the vital activity of cells. Fulvic acids change the pattern of
the metabolism of carbohydrates, resulting in an accumulation of soluble sugars.

Fulvic acid stimulates and balances cells, creating optimum growth and replication conditions. Fulvic acid has the
ability to complex vitamins into its structure, where they are presented to the cell in combination with complex
minerals. In this perfect natural condition, they are able to be catalyzed and utilized by the cell. In absence of adequate
trace minerals, vitamins are unable to perform their proper function.

An important aspect of Humic substances is related to their absorptive interaction with environmental chemicals and
pollutants, either before or after they reach concentrations toxic to living organisms.

Fulvic acid has the power to form stable water-soluble complexes with monovalent, divalent, trivalent, and polyvalent
metal ions. It can aid the actual movement of metal ions that are normally difficult to mobilize or transport. Fulvic
acids are excellent natural chelators and cation exchangers.

Human Experiences with Fulvic

Tests were conducted by Dr. W. Schlickewei and five associates at the University Hospital in Freiburg, German, on
human patients requiring transplantation or replacement of bone during surgery. The transplantation of bone tissue is
required in about 15% of all cases of replacement surgery of the loco motor apparatus, and it is generally applied to
reconstitute and repair actual defects in bone.

Human donor tissues have become scarce due to special legal requirements and necessary additional testing because
such tissues have a high danger of transmitting the HIV virus and hepatitis. There are also obvious disadvantages to
using bone grafts from other areas of the same patient's body because they require a second operation and prolong the
length of time in surgery. The only other known substitute source available in large enough quantities for clinical use,
was animal bone in the form of inorganic calcium compounds (bovine calcium hydroxyapatite), and although these
were well tolerated by the body, they showed no signs of being resorbed.




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In this clinical test and previous experiments, Fulvic
acid has been shown to activate and stimulate white
blood cells, promoting healing, turn inorganic calcium
into an organic bio-active cellular regenerative
medium conducive to new bone growth, stimulate
cellular growth and regeneration, and inhibit the HIV
virus.

Remarkable bone regeneration and resorption
characteristics were identified when the animal bone
patients. The bone implant then became highly
osteoconductive, and served the host tissue as a
“guideline” for the deposition of newly developing bone
tissue. The same transplant procedure without the Fulvic
acid showed no signs of regeneration during the course
of the experiment.

While on the lookout for a new group of active agents
with the ability to promote wound healing, the doctors
came across the Humic substances. The doctors said that
the bone resorption is most easily explained by the
known ability of humate to induce the activation of
leucocytes. They said that previous experiments had
established that the Humic substances are able to bind to
calcium-containing compounds, stimulate granulocytes,
and block the infectivity of the HIV virus.
Testimonials of having the following, effectively treated with Fulvic and Humic acids.
         Anemia                      Cystitis                High Blood Sugar               Chronic Indigestion

         Angina                     Dermatitis              Migraine Headaches               Chronic Psoriasis
     Arteriosclerosis                Diabetes                Multiple Sclerosis             Circulation Problems
        Arthritis                   Diarrhea                  Muscle Cramps                        Gout
          Burns                   Diverticulitis            Nervous Disorders                    Heartburn
       Blood Clots                   Eczema                  Nervous Stomach                   Hemorrhoids
         Bursitis                     Edema                     Open Sores                         Stroke
         Cancers                    Fractures                Parasite Infection                Toxic Buildup
     Chemical Burns                Gall Stones                   Shingles                         Ulcers
    Chronic Fatigue                  Gastritis                   Sunburn                        H.I.V. Virus
     Common Colds             High Blood Pressure             Varicose Veins                   Hypoglycemia
         Colitis                      Croup                   Yeast Infections

List of Trace Minerals Found in EarthWater Fulvic And Humic Concentrate - In a lab tests conducted on 28
October 2011 in the course of FDA registration (Reg. # 3006423386) of EarthWater patented Fulvic and Humic
concentrate, it was certified that our sample contained 72 trace minerals indispensable for the human body.

  Aluminum 11.48 ppm ICP-OES          Hafnium 0.026 ppm ICP-MS USP                Rhodium
  USP
  Antimony                            Holmium 0.038 ppm ICP-MS USP
                                                                                  Rubidium 0.728 ppm ICP-MS
                                                                                  USP
  Barium 0.199 ppm ICP-OES            Indium                                      Ruthenium 0.013 ppm ICP-MS
  USP                                                                             USP




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  Beryllium                           Iodine 0.804 ppm ICP-MS USP                Samarium 0.037 ppm ICP-MS
                                                                                 USP
                                      Iridium
  Bismuth 0.087 ppm ICP-OES                                                      Scandium 0.025 ppm ICP-MS
  USP                                                                            USP
  Boron 0.061 ppm ICP-OES USP         Iron 8.11 ppm ICP-OES USP                  Selenium

  Bromine 0.825 ppm IC                Lanthanum 0.131 ppm ICP-OES USP            Silicon 9.85 ppm ICP-OES USP

  Cadmium                             Lead 0.021 ppm ICP-MS USP                  Silver 1.76 ppm ICP-OES USP
                                      Lithium 0.039 ppm ICP-OES USP              Sodium 1.17 ppm ICP-OES USP
  Calcium 591 ppm ICP-OES
  USP
  Carbon 2870 ppm LECO                Lutetium
                                                                                 Strontium 0.75 ppm ICP-OES
                                                                                 USP
  Cerium 0.036 ppm ICP-MS USP         Magnesium 177 ppm ICP-OES USP              Sulfur 1.39 ppm ICP-OES USP
  Cesium                              Manganese 0.50 ppm ICP-OES USP
                                                                                 Tantalum 0.021 ppm ICP-MS
                                                                                 USP
  Chloride 136 ppm                    Mercury                                    Tellurium
                                                                                 Terbium
  Chromium 0.50 ppm ICP-OES           Molybdenum 0.055 ppm ICP-OES
  USP                                 USP
  Cobalt 0.057 ppm ICP-OES            Neodymium 0.024 ppm ICP-MS USP             Thallium 0.031 ppm ICP-OES
  USP                                                                            USP
  Copper 0.82 ppm ICP-OES USP         Nickel 0.037 ppm ICP-OES USP               Thorium
  Dysprosium                          Niobium                                    Thulium 0.024 ppm ICP-MS USP
  Erbium 0.022 ppm ICP-MS USP         Osmium                                     Tin
  Europium                            Palladium                                  Titanium 1.32 ppm ICP-OES
                                                                                 USP
  Fluoride 0.487 ppm IC               Phosphorous 3.58 ppm ICP-OES USP           Tungsten
  Gadolinium 0.051 ppm ICP-MS         Platinum                                   Vanadium 0.129 ppm ICP-OES
  USP                                                                            USP
  Gallium 0.079 ppm ICP-MS            Potassium 193 ppm ICP-OES USP              Yttrium 0.047 ppm ICP-OES
  USP                                                                            USP
  Germanium                                                                      Zinc 0.349 ppm ICP-OES USP
                                      Praseodymium 0.026 ppm ICP-MS
                                      USP
  Gold                                Rhenium
                                                                                 Zirconium 0.262 ppm ICP-OES
                                                                                 USP

Alkalinity of EarthWater products

Alkaline water is water that’s less acidic than regular tap water. This means it is rich in alkalizing compounds,
including calcium, silica, potassium, magnesium, and bicarbonate. Many people believe that the typical North
American diet contributes to chronic low-grade acidosis – a condition that may be associated with poor health
including heart problems, altered hormonal status, and loss of muscle or bone.

Tap water contains different dissolved elements that influence its pH level. Pure water has a pH level close to 7.
Alkaline water has a pH above 7. Our bodies do a fantastic job of maintaining blood pH within a tight range. This
means that “chronic low-grade acidosis” won’t appear on lab reports. But what if those reports are deceptive?
Proponents of alkaline water argue that even if your pH levels look fine, your body could be drawing on stored buffers
from bone and muscle to maintain pH within the ideal range. The human body is complex. Claiming that everyone



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needs to “alkalize” might be an over-simplification. For one thing, each organ system has a unique pH range. And
since there are various ways that the body maintains pH balance, if pH is out of whack, it’s important to get to the
underlying cause. Without knowing the cause, you can’t determine whether alkaline water will really help you.

EarthWater products not only provide the essential minerals that human body requires but are deprived in their daily
diet but also aid our body to maintain pH levels since our products’ pH level averages 8.8. The largest study ever
                                                                     conducted on the reasons why people live to be
                                                                     100 - called the Okinawa Centenarian Project -
                                                                     reveals that the longest lived people on earth
                                                                     drink alkaline water and eat alkaline foods?
                                                                     “The people of Okinawa, Japan regularly live
                                                                     to be 100 - and the water they drink has a pH
                                                                     of 10 - making it alkaline water.”

                                                                        Longevity is one of the reported benefits of
                                                                        healthy lifestyle choices like alkaline water
                                                                        that is currently being studied by scientists in
                                                                        the ongoing Centenarian Project. High in
                                                                        Alkalinity, EarthWater products is extremely
                                                                        beneficial for consumers in aiding weight loss
                                                                        and detoxification, maintaining blood pressure,
                                                                        better bone health and high anti-oxidation
                                                                        potential.

Products at Market – SKUs

We live in a world where with every passing year the food we get gives us lesser and lesser amount of nutrition. Our
crops grow smaller and are subjected to sprays and fertilizers to rid us of the pests that attack weakened plants.
Weakened plants, that cannot get the nutrition out of our mineral depleted farm soil are the beginning of the food chain
and as such are incapable of delivering the nutrients we need to live healthy, meaningful lives. While this sounds like
science fiction, the science does not lie. Just look at the growth of almost any disease in our society today. Whether it
is arthritis, diabetes, skin conditions such as psoriasis, or the many other diseases attributed to a depleted immune
system, the percentages of those who are affected are on the increase. The lack of presence of adequate Fulvic and
Humic Acid in our soils contributes substantially to our statistics. Using EarthWater’s Fulvic and Humic products can
give the consumers a healthier body and mind by enabling a healthier immune system. We all need these ingredients
in our diet. Our purpose is to bring the best products available on this planet to the world market place along with and
explanation as to why they are required.

Branded under the name of FulHum and Zenful we manufacture different variants of Fulvic and Humic products to
cater the need of modern day consumers. Although we started with FulHum and Zenful, using 100% natural purified
water, we strive to bring you products that are not Pre-Processed, Canned or Frozen.


ALL NATURAL

No Additives     No Chemicals       High Alkaline       No Colors     No Sugars       Non-Toxic

FulHum and Zenful have a combination of trace minerals, up to high alkalinity, naturally occurring electrolytes,
antioxidant qualities and micronutrients along with some of the richest and purest forms of Fulvic & Humic
compounds. Our natural ingredients are over 80 million years old and are derived from compressed marine botanical
plants containing all the elements of life.

At EarthWater Limited, our mission is to provide products that infuse valuable micronutrients into your body with our
unique, holistic, natural ingredients supported by “Fulvic and Humic compounds”.




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FULHUM

i) FulHum (Black) Electrolyte + Mineral Infused Purified Water

FulHum (stands for FULvic and HUMic) is a natural mineral infused water made from 100% natural purified water, with NO
additives, NO colors, NO sugars, NO chemicals, and NO artificial ingredients. It has a combination of over 70 trace minerals, a +9pH,
naturally occurring electrolytes, antioxidants and micro nutrients along with some of the richest and purest form of Fulvic & Humic
compounds. FulHum derives its black color from the Humic compounds which is not present in Zenful.




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FulHum replaces trace minerals missing from our modern diets. Doctors and scientists worldwide believe that the lack of trace
minerals and co-factors for enzymes in modern diets contribute to chronic and unexplained diseases, such as Alzheimer’s,
Autism, and autoimmune diseases. Without trace minerals and strong antioxidants like Fulvic acid, the immune system cannot
fight off disease or properly utilize the key vitamins and nutrients your body needs.

Modern farming practices create “sick” soil, producing unhealthy plants that provide inadequate nutrition. The long-term effects
of chemical fertilizers and over farming have stripped the soil of its nutrients. Our food contains less than half the minerals it
did in the 1940s. Even organically grown food can suffer from over-tilling of the soil. Over-tilling degrades the soil’s micro
environment of trace minerals and beneficial bacteria. FulHum contains minerals mined from a multi-million-year-old
preserved deposit and comes in following size and price variants in the market.


                                                                                                          Amazon US$50.00
  FulHum Ready To Drink - 12 Pack Case
                                                                                                          Network US$ 48.00

  FulHum Sachets Drink Mix – 30 count Carton                                                              Amazon US$ 89.00
                                                                                                          Network US$ 88.00




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                                                                                    ii) FulHum Packet Drink Mix

                                                          To cater to the needs of the consumer and provide them the flexibility of
                                                          drinking the most needed minerals whenever and wherever they are, EarthWater
                                                          launched the FulHum Packet Drink Mix which contains the FulHum concentrate
                                                          in it. Although FulHum packets are mostly mixed with water, we are noticing
                                                          that consumers are mixing these packets with drinks like Tea, Coffee, Protein
                                                          shakes, etc.

                                                          One Packet can be mixed with 20 oz of drink. It comes in an attractive pack of
                                                          30 sachets and is priced at US$ 89.00.




FulHum PopTops

EarthWater’s proprietary closing cap technology offers a fresh and interactive beverage drinking experience. The pop top keeps active
                                                                                ingredients stored within the cap that can be fitted to
                                                                                any bottled beverage. Pop tops are made in USA and
                                                                                are far eco-friendlier alternative to standard beverage
                                                                                bottling.

                                                                             PopTop technology allows consumers to add
                                                                             nutrientrich formulations to on-the-go beverages.
                                                                             PopTops offer a unique and fresh interactive beverage
                                                                             experience that keeps the minerals fresh inside the caps
                                                                             until consumption. It gives the consumers control over
                                                                             what and when to have in a beverage in addition to
                                                                             controlling the carbs, calories, artificial flavors/colors,
                                                                             and preservatives. FulHum PopTops are available in
         elegant case of 30 pieces and is priced at Amazon US$ $89.00 and Network US$ 88.00.

ZENFUL

Zenful is a Zero Calorie 100% naturally flavored electrolyte water infused with Fulvic mineral complexes. It’s rich in electrolytes and
antioxidants with no artificial sweeteners. Zenful is a healthy and natural way to bring balance back into your life. Zenful contains high
grade Fulvic mineral complex harvested from deep within the earth, where the soil is dense with pristine minerals. Fulvic minerals are
mother nature’s vital ingredient for plant vitality, enhancing hydration, efficient transporting of trace minerals into the cell, catabolizing
biochemical processes, and optimizing cellular function. Fulvic minerals are known to have many beneficial qualities.

Zenful urges the consumer to satisfy their thirst with the taste of enlightenment and restore themselves with a fresh infusion of Fulvic
trace mineral and tantalizing flavors Jasmine + Blackberry; Chamomile + Hibiscus; Cucumber + Mint; Lemon + Lime + Cilantro, a
delightful medley designed to invigorate both body and mind. We believe in using the best of the earth for the good of people. A healthy
body and mind is at the heart of this product. Zenful. Any variant of Zenful in 12 pack is priced at US$26.00/case only through Amazon.




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Zenful (Clear in Color) was developed to help athletes rehydrate, refresh, and recover after exercise. EarthWater infuses the purest
Fulvic mineral complexes along with fruit and plant extracts chosen for their soothing. Zenful is the balance of nutrients, hydration and
calming flavor. Enhanced with specially formulated Fulvic mineral complexes, Zenful provides essential natural trace minerals,
antioxidants and vital electrolytes the body needs to refresh, rehydrate and recover.

Zenful is calorie free and aromatic—made with natural fruit and plant extracts that are infused for a delicate lingering finish. Our flavor
combinations are sure to lead you to a peaceful nirvana of refreshment. Our four variants of clear Fulvic based flavored drinks in the
iconic 20-ounce bottle are shown below.




                               CHAMOMILE AND HIBISCUS                             CUMBER AND MINT




                                    JASMINE AND BLACKBERRY                   LEMON LIME CILANTRO




                                                                                                             DOJ-EW-0000009534
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OTHERS

Although EarthWater began its business operating in beverage industry, with its core value to serve human health, it continues to explore
in the realms of Wellness Industry. As a result of which it offers its consumers allied products which are not just beverages. It seeks to
keep no stones unturned to help consumer gain access to all the minerals and vitamins essential for a healthy body functioning.

Adult Gummy-Vites

EarthWater Gummy-Vites makes it easy to eliminate sugar from your multivitamin with our Sugar-Free
Adult Gummy-Vites Multivitamins. Each sugar-free gummy delivers an array of nutrients to help
support optimal health and boost immunity, including: vitamin C, folic acid, vitamin B12, and zinc.
And, each delicious Gummy-vite is easy-to-chew and won’t stick to teeth or most dental work.
Furthermore, in addition to being sugar-free, each gummy is 100% vegetarian and free of peanuts, soy,
and gluten. Not to mention, this gummy is delicious. Each bottle contains 90 Gummy-Vites and is priced
on Amazon US$ 29.99 and in the future, through the Network at US$ 25.00.

Trademarks, Patents and FDA Approvals

A trademark is a brand name. A trademark or service mark includes any word, name, symbol, device, or any combination, used or
intended to be used to identify and distinguish the goods/services of one seller or provider from those of others, and to indicate the source
of the goods/services. EarthWater’s Trademark of FULHUM was duly registered with the United States Patents and Trademarks Office
(USPTO) on Feb 24, 2015 and went on uncontested. Application for EarthWater’s Trademark of ZENFUL was duly filed with the
United States Patents and Trademarks Office (USPTO) on January 28, 2016 (Application number 86889231).

Federal registration of a trademark with the USPTO has several advantages, including a notice to the public of the registrant's claim of
ownership of the mark, a legal presumption of ownership nationwide, and the exclusive right to use the mark on or in connection with
the goods or services set forth in the registration. Any encroachment upon our proprietary information, including the unauthorized use
of our brand name, the use of a similar name by a competing company or a lawsuit initiated either by us or against us for infringement
upon proprietary information or improper use of a trademark, may affect our ability to create brand name recognition, cause customer
confusion and/or have a detrimental effect on our business due to the cost of defending any potential litigation related to infringement.
Litigation or proceedings before the U.S. or International Patent and Trademark Offices may be necessary in the future to enforce our
intellectual property rights, to protect our trade secrets and/or to determine the validity and scope of the proprietary rights of others.
Any such litigation or adverse proceeding could result in substantial costs and diversion of resources and could seriously harm our
business operations and/or results of operations.

Design and Utility Patent Registration

A patent for an invention is the grant of a property right to the inventor, issued by the United States Patent and Trademark Office.
Generally, the term of a new patent is 20 years from the date on which the application for the patent was filed in the United States or, in
special cases, from the date an earlier related application was filed, subject to the payment of maintenance fees. U.S. patent grants are
effective only within the United States, U.S. territories, and U.S. possessions.

The right conferred by the patent grant is, in the language of the statute and of the grant itself, “the right to exclude others from making,
using, offering for sale, or selling” the invention in the United States or “importing” the invention into the United States. What is granted
is not the right to make, use, offer for sale, sell or import, but the right to exclude others from making, using, offering for sale, selling or
importing the invention. Once a patent is issued, the patentee must enforce the patent without aid of the USPTO.

For registration of EW patents in order to gain exclusive rights for commercial use of our Intellectual Property, Fish and Richardson PC,
our exclusive legal representatives of all FULHUM IP were appointed who on behalf of EarthWater filed an application with USPTO
on 24 June 2014. Our legal representatives have duly complied with all the filing requirements and our application should receive Office
action in due time.




EarthWater and Amazon



                                                                                                                 DOJ-EW-0000009535
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EarthWater is an exclusive online seller of all of its products. The Company moved away from conventional retail in stores due to heavy
costs and shelf space metrics. After complying with the Amazon’s rules/guidelines prescribed for the Third-party sellers and additionally
for featuring the product as Amazon Exclusives, taking the EarthWater products through the extreme vetting process of Amazon,
Earthwater entered into an agreement with Amazon in Q4 2016. This new partnership with Amazon is by far the greatest landmark for
EarthWater which has the potential to bridge all the gaps between EarthWater and its customers all around the globe. The collaboration
deal with Amazon can be broken down into 3 following Sub-divisions for understanding the partnership of EarthWater and Amazon in
its entirety.



                                                               Open to All Sellers




                                                                Open to All Sellers




                                                             Only Strongly Vetted
                                                         Products like Earth Water


Amazon Marketplace

EarthWater joined Amazon Marketplace in the month of September 2016, which is a general e-commerce platform owned and operated
by Amazon.com Inc. that enables third-party sellers to sell new offerings on Amazon's fixed-price on-line marketplace alongside
Amazon's regular offerings. Using Amazon Marketplace, third-party sellers gain access to Amazon's customer base, and Amazon
expands offerings on its site without having to invest in additional inventory.

EarthWater got itself registered in Amazon as a Third-Party Seller and chose to “Sell as a Professional” which costs a flat fee of USD
39.99 per month. During the registration process, EW provided all the key information like, Business name, Legal Name, Address,
Contact Info, Shipment Destination, Bank Account information, Shipment options, details about the Seller, Seller logo/Trademark,
return and refund policies etc.

Once EarthWater completed the registration, it listed all its SKUs in Amazon one at a time either as new products providing the details
like UPC/EAN Number, SKU, Product Title, Production description and Bullet points, Product Images, Search Terms.
With upload of the EW’s listings, EW products go live on the Amazon marketplace; EW could use the Seller Central website to manage
all aspects of its selling account like checking for new orders, updating the inventory, monitoring the performance metrics, and much
more.




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                                                                   Upon placing an order by the customer, the shipment needs to be
                                                                   made. Items purchased on Amazon from third-party sellers are either
                                                                   Fulfilled By Merchant (FBM) or Fulfilled By Amazon (FBA). FBM
                                                                   goods are kept in the third-party seller's inventory, and shipping and
                                                                   customer service are handled by the third-party merchant. FBA goods
                                                                   are stored in Amazon's fulfillment centers, and shipping and customer
                                                                   service are handled by Amazon. To ensure hassle free shipment
                                                                   procedures, the risk of incurring additional shipping costs, EarthWater
                                                                   opted for FBA. Our analysis showed that the extra benefits of FBA
                                                                   clearly outweighed the costs involved.

FulHum Global Inc - Direct to Consumer – Affiliate & Network Marketing Plan


FulHum Global Inc. (a wholly owned subsidiary of EarthWater Limited) mission is to provide products that infuse valuable
micronutrients into your body with pure unique, holistic, natural ingredients supported by “fulvic and humic compounds”.
Specifically, the Company will offer a designer functional beverage with a proprietary, compelling, and innovative product that will
achieve rapid global penetration through a network marketing distribution system. The intellectual capital of the Company consists of
its team members, who bring an unparalleled degree of experience and knowledge associated with numerous highly-successful products
and proprietary manufacturing processes.
In building a direct-sales social marketing distribution model to sell its products globally. The social marketing industry continues to
enjoy dramatic growth, and provides opportunities for hundreds of thousands of new independent business owners each year. Sales in
the network marketing industry are in excess of $100 billion a year, with health products being the fastest growing segment. The
functional food and beverage category is growing at a 300% annual rate.
Social Marketing sells products by using a network of independent contractors known as distributors as the vehicle; this system
enables these distributors to build and manage their sales team from their own home-based business. Many of these independent
distributors do so by sponsoring, motivating, supplying, and training others to sell products, while sponsoring additional distributors.
Others choose to have their “Upline” do the training and motivating for them, while they sponsor and sell. The distributors'
compensation includes their own sales, plus a percentage of the sales of their sales team, known as the downline.
The Earthwater management team possesses all of the key ingredients for success, through their management and leadership
experience, their direct sales and marketing accomplishments, their product development and manufacturing expertise, and their
international Network Marketing legal capabilities. Our team has “been there” and “done that” over the past 30 years and will continue
to be successful in the future. The individuals who have developed and will execute this plan bring both reputation and targeted market
experience uniquely suited for success.
FulHum Global intends to develop an affiliate network that could potentially produce $500,000,000 of annual product sales volume
within 5 years. This will be accomplished through the establishment of:
(1) an active Distributor base of 200,000, each producing an average sales volume of $300 in goods and services per month; and
(2) an active Customer base of 500,000, each purchasing an average of $300 in goods and services per month.


                                           DIRECTORS AND EXECUTIVE OFFICERS
Board of Directors
Directors serve for a term of one year and until their successors have been duly elected and qualified. The following is a description of
the business experience of each of our directors and officers. The following is a description of our directors business experience:

C.J. Comu, Founder, Chairman and CEO-
Mr. CJ Comu is a 25-year professional veteran on Wall Street founding and operating five companies (two public) as
Founder/Chairman/CEO. He has extensive knowledge and experience in building, funding and operating globally with a track record
of over 100 companies he has counselled. Mr. Comu is CEO & Chairman of EarthWater Limited, and Chairman of Regus Advisors,
Inc., and sits on boards and mentors. CJ Comu served as former Chairman/CEO of SUN Sports & Entertainment, Inc. a public
company and one of the first Bonded and Licensed Producer of MMA in Texas. SUN Sports produced some of the most exciting live
events at places like; American Airlines Center, Harrah’s Hotel & Casino and Pay-Per-View.
Mr. Comu is a graduate from Langara College in Business Administration and has pursued post-academic studies, in marketing,
finance, real estate and law. Mr. Comu is former President of the Addison Rotary Foundation, Former Vice Chairman of Galleria



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Credit Union, Charter Member of the Investin Forum. Mr. Comu is an active speaker at Southern Methodist University (SMU) to the
Business Graduate Program on Venture Finance and Business Strategies. Mr. Comu has conducted business in 20 countries, speaks
several languages and been featured in numerous articles and interviews in Print, Radio and Television. www.cjcomu.com.
H. Buddy Barnes, CFO and Director-
Mr. Barnes is a member of the Board of Directors and an experienced executive team member, playing a strategic role in overall
company management. Planning, implementing, managing and controlling all financial-related activities including direct responsibility
for accounting, finance, forecasting, strategic planning, job costing, legal, lease management, deal analysis and renegotiations and
partnership compliance and private and institutional equity and debt financing.

Buddy is a senior executive officer with over 30 years of experience in Business Finance, serving as a Chief Financial Officer and a
key member of the executive team of a public company and VP finance of public and private companies from pre-revenue up to over
$1 billion in annual revenue with international operations and exposure. Recognized as a strategic thought leader with strong
negotiating skills and impeccable business acumen and integrity. Managed acquisitions in the technology and high-tech manufacturing
area, as well as, the management of M&A transactions on the sell side. Commercial banking background that has aided him in the
management of numerous equity, debt and bank credit facilities. Completed the strategic sale of a NASDAQ public company to a
subsidiary of a large Japanese electronics company at an 80% premium to market value, in most recent CFO role. Additionally,
managed the successful implementation of CRM and ERP systems and has significant experience in sales organizations, management
reporting, corporate governance, board development, in addition to investor relations. A graduate of The University of Mississippi
with a B.B.A. in Banking and Finance, and also completed the Mid-Management Certification Program at Southern Methodist
University’s Cox School of Business.
Previous Employment: Crowdfeed Inc. (crowdfeed.co), Pillar Solutions Group LLC., RF Monolithics. Managed Finance, Accounting,
Banking relationships, Investor Relations, Strategic Planning, Mergers & Acquisitions, Divestitures, IT, Technology,
Telecommunications, SEC Reporting, Manufacturing, International, Public Company and Audit.
Don Frey, Director-
As one of Dallas' most experienced real estate professionals, Don Frey brings a keen knowledge of the industry to the table when
working with clients. He started the company, originally The Frey Young Group, in 1986 after creating a powerful reputation for
himself at the Henry S. Miller Company (Grubb & Ellis). Don deals in all aspects of real estate, from land brokerage to development,
and oversees the vital processes of the industry, such as zoning, financing, and construction to ensure that his clients get what they
need to do business successfully. Don is passionate about the commercial real estate industry and is dedicated to serving his clients
Don is a graduate from The University of Mississippi and served as an Officer in the US Army.

Key Members of Management Team

Beth DeGroot, Vice President-
Beth DeGroot serves EarthWater, Ltd.’s National Account Manager and New Corporate Accounts Manager along with Manager of
Strategic Development and Operations to ensure Product Manufacturing.
Ms. DeGroot has 25 plus years of experience in Financial Institutions managing new client development, administration and creating
and overseeing policies and procedures for efficient operations.



                                                 EXECUTIVE COMPENSATION
Each of the Executive Officers, Messrs. Comu and Barnes, have employment agreements providing for annual compensation of
$124,200 and $110,400, respectively. The agreements provide for termination benefits of two times annual compensation and target
bonus upon a change in control as defined in the agreements. The agreements also provide for continuation of medical benefits for 24
months upon a change in control or termination due to disability.




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                                                 CERTAIN BENEFICIAL OWNERS

The following table sets forth as of December 31, 2018, certain information with respect to the beneficial ownership of the Common
Shares of our directors and officers, and our directors and officers as a group.

                                                   Shares Beneficially Owned
    Name                                         Number                           Percent
    Regus Advisors Inc.                               20,000,000                            32.67% (1)
    15455 Dallas Parkway, 6th Fl.
    Addison, TX 75001


    TKY Trust                                              2,500,000                        4.08% (2)
    7651 Francis Road, Suite 11
    Richmond, BC V6Y 1A3


    Don Frey                                                 250,000                        *(3)
    4050 Frankford Road #508
    Dallas, TX 75287

    H. Buddy Barnes                                          500,000                        *(4)
    6509 Hillswick Drive
    Plano, TX 75093


    Beth DeGroot                                             10,000                         *(5)
    13725 Flagstone Lane
    Dallas, TX 75240


    All directors and officers as a
    group (4 persons)                       23,260,000                 36.02%
   _____________________________________________________________________________________________

(1) Regus Advisors Inc., a Wyoming C corporation of which Mr. CJ Comu and Mr. H. Buddy Barnes are executive officers.
    Shares are subject to a non-dilution agreement in which Regus shall hold no less than 33% of the issued outstanding
    shares. According, if the maximum offering is subscribed Regus Advisors will be entitled to an additional 3,333,000
    shares

(2) The TKY Trust is a Private Canadian Trust of which Mr. CJ Comu, (currently Chairman of the Board and CEO of
    EarthWater Limited) is one of the co-beneficiaries of this Trust.

(3) Less than 1% Beneficial Ownership, Mr. Don Frey is a non-employee Board member of EarthWater Limited.

(4) Less than 1% Beneficial Ownership, Mr. H. Buddy Barnes, currently Chief Financial Officer and Board member of
    EarthWater Limited and EWB International Inc.

(5) Less than 1% Beneficial Ownership, Ms. Beth DeGroot, currently Vice President of EarthWater Limited.


                            CERTAIN RELATIONSHIPS AND RELATED PARTY TRANSACTIONS

Except as disclosed below, there have been no transactions or proposed transactions in which the amount involved exceeds the lesser of
$120,000 or one percent of the average of our total assets at year-end for the last two completed fiscal years in which any of our directors,
executive officers or beneficial holders of more than 5% of the outstanding shares of our common shares, or any of their respective
relatives, spouses, associates or affiliates, has had or will have any direct or material indirect interest.




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The Company is party to an advisory agreement dated March 2013 pursuant to which it has engaged Regus Advisors Inc. as its financial
advisor. Messrs. Comu and Barnes are executive officers of Regus. Pursuant to this agreement, Regus is entitled to an annual advisory
fee of $150,000. It is also entitled to a success fee on the date of any Financing, Business Combination (as defined in the advisory
agreement) or other transaction that originates through introductions of Regus equal to (a) a fixed sum bonus to be determined on
mezzanine, equity or debt financing obtained from Regus, (b) a discount of 50% off the published price of any stock purchased in the
company, and (c) for any introduction that leads to new business for the company of a 5% royalty on all sales. In addition, the common
stock issued to Regus shall represent a minimum of 33% of the outstanding shares; provided the number of additional shares of common
stock to be issued to Regus shall be equitably prorated to the extent that Regus holds, the time of the offering less than the full number
of shares held by it as of the financing.
                                                  DESCRIPTION OF SECURITIES
As of December 31, 2018, there were 64,583,045 common shares outstanding.
The following description of our common shares and provisions of our articles of association and By-laws is only a summary. Investors
are directed for a complete description of the terms and provisions of our articles and By-laws, which are exhibits to the Offering
Memorandum which contains this Offering Memorandum. We encourage you to review copies of our articles and By-laws.
Voting Rights
Each holder of our common shares is entitled to one vote for each share on all matters submitted to a vote of our shareholders,
including the election of our directors. The rights attached to the common shares do not provide for cumulative voting rights or
preemptive rights. Accordingly, the holders of a majority of our outstanding common shares entitled to vote in any election of
directors can elect all of the directors standing for election, if they should so choose.
Dividend Rights
Subject to limitations under the United Kingdom Companies Act 2006, preferences that may apply to any outstanding shares of preferred
stock and contractual restrictions, holders of our common shares are entitled to receive ratably dividends or other distributions when
and if declared by the Company’s board of directors. Whether any future dividends are paid to our shareholders will depend on decisions
that will be made by our board of directors and will depend on then existing conditions, including our financial condition, contractual
restrictions, corporate law restrictions, capital requirements and business prospects. Under the Companies, the Company may pay
dividends unless there are reasonable grounds for believing that (i) the Company is, or would after such payment be, unable to pay its
liabilities as they become due or (ii) the realizable value of the Company’s assets would be less than the aggregate of its liabilities and
stated capital of all classes of shares.
Anticipated Reorganization of the Company
Subject to receipt of satisfactory tax and legal advice, the Company anticipates reorganizing on a tax-free basis into a Canadian
corporation in the second quarter of fiscal 2018 by enacting a (one-for-one) share exchange of like shares in equal ownership amounts
for shares in EarthWater International Inc. (a Canadian Corporation), resulting in all shares being held only in a Canadian based entity.

                                                      RESALE RESTRICTIONS

The securities offered hereby are “restricted securities” and may be resold only pursuant to registration under the United States Securities
Act of 1933, as amended, or an exemption from registration. Certificates representing the securities will bear a restrictive legend and
may be transferred only pursuant to registration or upon presentation to the Company in form and substance satisfactory to it that the
proposed transfer may be effective without registration. Accordingly, any resale of the Shares must be made in accordance with
applicable securities laws which may require re-sales to be made in accordance with prospectus and dealer registration requirements or
exemptions from the prospectus and dealer registration requirements. Purchasers are advised to seek legal advice prior to any proposed
resale of the Shares.

                                             REPRESENTATIONS OF PURCHASERS
Each investor who purchases Shares will be required to sign a subscription agreement which will contain, among other things,
representations and acknowledgements of the investor in favor of the Company. Investors should refer to the terms of the subscription
agreement for this purpose. The minimum subscription amount will be for US $100,000, unless otherwise approved by the Company.

                                                              TAXATION
Investors should consult with their own tax advisers with respect to the tax consequences of an investment in the Shares and with respect
to the eligibility of the Shares for investment by such investor under relevant US legislation and regulations.




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                                                          EARTHWATER LIMITED
                                                    SUBSCRIPTION FOR COMMON SHARES

TO:                   EARTHWATER LIMITED (the “Corporation”)

AND TO:                                         (“Agent”)

The undersigned (the “Subscriber”), on its own behalf, and, if applicable, on behalf of those for whom the undersigned is
contracting hereunder as trustee or agent (a “Beneficial Purchaser”), hereby irrevocably subscribes for and agrees to
purchase from the Corporation the number of Common Shares of the Corporation (each a “Common Shares”) set forth
below (the “Purchased Common Shares”) at a price of $0.50 per Common Share, for the aggregate Subscription Price set
out below. The Subscriber agrees to be bound by the terms and conditions set forth in the attached “Terms and Conditions
of Subscription for Common Shares of EarthWater Limited” including, without limitation, the representations, warranties
and covenants set forth in the applicable schedules attached thereto. The Subscriber further agrees that the Corporation and
the Agent may rely upon the Subscriber’s representations, warranties and covenants contained in such documents.
                                         SUBSCRIPTION AND SUBSCRIBER INFORMATION
                     Please print all information (other than signatures), as applicable, in the space provided below



                                                                           Number of Purchased Common Shares:         x $0.50 per Common Share


 (Name of Subscriber)
                                                                           = Aggregate Subscription Price:
 Account Reference (if applicable):                                                                      (the “Subscription Price”)


 By:
       Authorized Signature
                                                                         If the Subscriber is signing as agent for a Beneficial Purchaser and
                                                                         is not purchasing as trustee or agent for accounts fully managed by
                                                                         it, complete the following:
 (Official Capacity or Title – if the Subscriber is not an individual)

                                                                         (Name of Beneficial Purchaser)
 (Name of individual whose signature appears above if different than the
 name of the subscriber printed above.)
                                                                         (Beneficial Purchaser’s Residential Address)

 (Subscriber’s Residential Address, including Municipality and State)




 (Telephone Number)                                           (Email Address)



 Registration Instructions:                                                              Delivery Instructions:



 (Name)                                                                                  (Name)


                                                                                         (Account Reference, if applicable)
 (Account Reference, if applicable)
                                                                                         (Address)
                                                                                                     (Contact Name)       (Telephone Number)




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(Address, including Postal Code)




Number and kind of securities of the Corporation directly or indirectly   Is the Subscriber or Beneficial Purchase an insider of the Corporation?
owned, controlled, or directed, (if none, write “nil”):
                                                                           Yes         No

                                                                          If “Yes”, describe relationship:




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                             TERMS AND CONDITIONS OF SUBSCRIPTION
                           FOR COMMON SHARES OF EARTHWATER LIMITED

                                                  ARTICLE 1
                                               INTERPRETATION

1.1               Definitions

                              Whenever used in this Subscription Agreement, unless there is something in the subject
matter or context inconsistent therewith, the following words and phrases shall have the respective meanings ascribed
to them as follows:

        “Agency Agreement” has the meaning given to such term in section 6.1(l);

        “Beneficial Purchaser” has the meaning set out on the face page of this Subscription Agreement;

        “Business Day” means a day other than a Saturday, Sunday or any other day on which the principal chartered
        banks located in New York are not open for business.

        “Closing” has the meaning set out in Section 4.1;

        “Closing Date” has the meaning set out in Section 4.1;

        “Closing Time” has the meaning set out in Section 4.1;

        “Common Shares” has the meaning set out on the face page of this Subscription Agreement;

        “Corporation” means EarthWater Limited and includes any successor corporation to or of the Corporation;

        “insider” means:

        (a)      a director or senior officer of the Corporation,

        (b)      a director or senior officer of a company that is itself an insider or subsidiary of the Corporation; or

        (c)      a person that beneficially owns or controls, directly or indirectly, voting shares of the
                 Corporation carrying more than 10% of the voting rights attached to all the Corporation’s
                 outstanding voting shares;

        “Offering” means the offering of up to 10,000,000 Common Shares at $0.50 per Common Share for
        aggregate gross proceeds of up to $5,000,000 pursuant to Subscription Agreements, subject to such additional
        number of shares as may be determined by the Corporation in its discretion; “Over Allotment Option”
        means the option granted by the Corporation to the Agents to sell up to additional 1,600,000 Common Shares
        in connection with the Offering, which can be exercised by the Agents until 48 hours prior to the Closing
        Time;

        “Person” means any individual (whether acting as an executor, trustee administrator, legal representative or
        otherwise), corporation, firm, partnership, sole proprietorship, syndicate, joint venture, trustee, trust,
        unincorporated organization or association, and pronouns have a similar extended meaning;

        “Purchased Common Shares” has the meaning set out on the face page of this Subscription Agreement;

        “Securities Laws” means, as applicable, the securities laws, regulations, rules, rulings and orders in the
        United States and the states of the United States, and the applicable policy statements issued by the securities
        regulators in the United States and the states of the United States;

        “Share” has the meaning set out on the face page of this Subscription Agreement;

        “Subscriber” has the meaning set out on the face page of this Subscription Agreement;




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         “Subscription Agreement” means this subscription agreement (including any schedules hereto) and any
         instrument amending this Subscription Agreement; “hereof”, “hereto”, “hereunder”, “herein” and similar
         expressions mean and refer to this Subscription Agreement and not to a particular Article or Section; and the
         expression “Article” or “Section” followed by a number means and refers to the specified Article or Section
         of this Subscription Agreement;

         “Subscription Price” has the meaning set out on the face page of this Subscription Agreement;

         “Term Sheet” means the term sheet attached as Schedule “A” hereto;

         “United States” means United States of America;

         “U.S. Person” has the meaning ascribed thereto under Regulation S of the U.S. Securities Act; and “U.S.

         Securities Act” means the United States Securities Act of 1933, as amended.



1.2                Gender and Number

                            Words importing the singular number only shall include the plural and vice versa, words
importing the masculine gender shall include the feminine gender and vice versa, and words importing persons shall
include firms and corporations.

1.3                Currency

                            Unless otherwise specified, all dollar amounts in this Subscription Agreement, including
the symbol “$”, are expressed in United States dollars.

1.4                  Subdivisions, Headings and Table of Contents

                              The division of this Subscription Agreement into Articles, Sections, Schedules and other
subdivisions, the inclusion of headings and the provision of a table of contents are for convenience of reference only
and shall not affect the construction or interpretation of this Subscription Agreement. The headings in this Subscription
Agreement are not intended to be full or precise descriptions of the text to which they refer. Unless something in the
subject matter or context is inconsistent therewith, references herein to an Article, Section, Subsection, paragraph,
clause or Schedule are to the applicable article, section, subsection, paragraph, clause or schedule of this Subscription
Agreement.

                                                    ARTICLE 2
                                                    SCHEDULES

2.1                Description of Schedules

                 The following are the Schedules attached to and incorporated in this Subscription Agreement by
reference and deemed to be a part hereof:

                   Schedule “A”       -    Term Sheet
                   Schedule “B”       -     Accredited Investor Certificate



                                                     ARTICLE 3
                                                      CLOSING

3.1                Subscription

                 The Subscriber hereby confirms its irrevocable subscription for and offer to purchase the Purchased
Common Shares from the Corporation, on and subject to the terms and conditions set out in this Subscription
Agreement, for the Subscription Price which is payable as described in Article 4 hereto.




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3.2                  Acceptance and Rejection of Subscription by the Corporation

                    The Subscriber acknowledges and agrees that the Corporation and the Agent reserve the
right, in its absolute discretion, to reject this subscription for the Purchased Common Shares, in whole or in part, at
any time prior to the Closing Time. If this subscription is rejected in whole, any checks or other forms of payment
delivered to the Agent representing the Subscription Price will be promptly returned to the Subscriber without interest
or deduction. If this subscription is accepted only in part, a check representing any refund of the Subscription Price
for that portion of the subscription for the Purchased Common Shares which is not accepted, will be promptly delivered
to the Subscriber without interest or deduction.

                                                    ARTICLE 4
                                                     CLOSING

4.1               Closing

                   Sale of the Purchased Common Shares and payment of the Subscription Price will be
completed (the “Closing”) at the offices of the Corporation’s counsel, EarthWater Limited, 16220 Midway Road ,
Addison, TX 75001 at 2:00 p.m. (New York time) (the “Closing Time”) with the first closing commencing on or about
__________, 2019, or on another date determined by the Corporation in its sole discretion. The Corporation reserves
the right to close the Offering in multiple tranches, so that one or more closings may occur as the Corporation may
determine (each such dated is referred to herein as the “Closing Date”).

                  If, prior to the Closing Time, the terms and conditions contained in this Subscription Agreement
have been complied with, certificates representing the Purchased Common Shares will be available if requested by the
Subscriber for delivery against payment to the Corporation of the Purchase Price in freely transferrable funds. If the
Subscriber does not attend the Closing in person to pick up such certificates, then the Corporation will promptly
forward such certificates to the Subscriber at the delivery address indicated on the face page hereof.

                  If, prior to the Closing Time, the terms and conditions contained in this Subscription Agreement
(other than delivery by the Corporation to the Subscriber of certificates representing the Purchased Common Shares)
have not been complied with to the satisfaction of the Subscriber, the Corporation and the Subscriber will have no
further obligations under this Subscription Agreement.

4.2                Conditions of Closing

                   The Subscriber acknowledges and agrees that the obligations of the Corporation and the Agent
hereunder are conditional on the accuracy of the representations and warranties of the Subscriber contained in this
Subscription Agreement as of the date of this Subscription Agreement, and as of the Closing Time as if made at and
as of the Closing Time, and the fulfillment of the following additional conditions as soon as possible and in any event
not later than the Closing Time:

        (a)       the Subscriber having properly completed, signed and delivered this Subscription Agreement to:

                            [Provide]

        (b)       the Subscriber having properly completed, signed and delivered Schedule “B”;

        (c)       the Subscriber having paid the Subscription Price by certified check, bank draft, or wire transfer in
                  United States dollars payable to the Agent for the Corporation, or as the Corporation, the Agent and
                  the Subscriber may otherwise agree; and

        (d)       the Subscriber having delivered any other documents or information required by securities laws that
                  the Corporation and the Agent may request.

                                           ARTICLE 5
                          REPRESENTATIONS, WARRANTIES AND COVENANTS
                                     BY THE CORPORATION




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5.1                  Representations, Warranties and Covenants of the Corporation

                           The Corporation hereby covenants and agrees with the Subscriber that the representations
and warranties made by the Corporation to the Agent in the Agency Agreement will be true and correct as of the
Closing Date. The Subscriber shall be entitled to rely on the representations, warranties and covenants made by the
Corporation to the Agent in the Agency Agreement to the extent that they have not been varied, amended, altered or
waived, in whole or in part, by the Agent and shall survive the closing of the Offering and shall continue in full force
and effect for the benefit of the Subscriber in accordance with the terms of the Agency Agreement. The
representations, warranties and covenants made by the Company to the Agent in the Agency Agreement are hereby
incorporated by reference such that they form an integral part of this Subscription Agreement.


                                      ARTICLE 6
                   ACKNOWLEDGEMENTS, COVENANTS, REPRESENTATIONS AND
                            WARRANTIES OF THE SUBSCRIBER

6.1                   Acknowledgements, Covenants, Representations and Warranties of the Subscriber

                              The Subscriber, on its own behalf and, if applicable, on behalf of others for whom it is
acting hereunder, hereby represents and warrants to, and covenants with, the Corporation and the Agent as follows
and acknowledges that the Corporation and the Agent are relying on such representations and warranties in connection
with the transactions contemplated herein:

         (a)      the Subscriber, and each Beneficial Purchaser, if any, is a resident in the jurisdiction set out on the
                  face page of this Subscription Agreement. Such address was not created and is not used solely for
                  the purpose of acquiring the Purchased Common Shares and the Subscriber and any Beneficial
                  Purchaser was solicited to purchase in such jurisdiction;

         (b)      the Subscriber has the legal capacity and competence to execute this agreement and to take all actions
                  required pursuant hereto and all necessary approvals by directors, shareholders and members of the
                  Subscriber, or otherwise, have been given to authorize it to execute and deliver this agreement and
                  to take all actions required pursuant hereto;

         (c)      the Subscriber has properly completed, executed and delivered within applicable time periods to the
                  Corporation or the Agent, as the case may be the applicable certificate(s) and/or form(s) (dated as
                  of the date hereof) set forth in Schedule “B”, and the information contained therein is true and
                  correct;

         (d)      the representations, warranties and covenants contained in the Schedules will be true and correct
                  both as of the date of execution of this Subscription Agreement and as of the Closing Time;

         (e)      the Subscriber or any person for whom it is acting is a U.S. Person within the meaning of the
                  Regulation S under the U.S. Securities Act;

         (f)      neither the Subscriber nor any person for whom it is acting will offer, sell or otherwise dispose of
                  the Purchased Common Shares in the United States or to a U.S. Person unless the Corporation has
                  consented to such offer, sale, or disposition, and such offer, sale, or disposition is made in accordance
                  with an exemption from the registration requirements under the U.S. Securities Act and the securities
                  laws of all applicable states of the United States or in accordance with the registration and prospectus
                  delivery requirements of the U.S. Securities Act;

         (g)      the execution and delivery of this Subscription Agreement, the performance and compliance with
                  the terms hereof, the subscription for the Purchased Common Shares and the completion of the
                  transactions described herein by the Subscriber will not result in any material breach of, or be in
                  conflict with or constitute a material default under, or create a state of facts which, after notice or
                  lapse of time, or both, would constitute a material default under any term or provision of the
                  constituting documents, by-laws or resolutions of the Subscriber, the Securities Laws or any other
                  laws applicable to the Subscriber, any agreement to which the Subscriber is a party, or any judgment,
                  decree, order, statute, rule or regulation applicable to the Subscriber;



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      (h)   the Subscriber is subscribing for the Purchased Common Shares as principal for its own account and
            not for the benefit of any other person (within the meaning of applicable Securities Laws) and not
            with a view to the resale or distribution of all or any of the
            Purchased Common Shares, or if it is not subscribing as principal, it acknowledges that the
            Corporation and the Agent may be required by law to disclose to certain regulatory authorities the
            identity of each Beneficial Purchaser for whom the Subscriber is acting;

      (i)   in the case of a subscription for the Purchased Common Shares by a Subscriber acting as trustee or
            agent for a Beneficial Purchaser, the Subscriber is duly authorized to execute and deliver this
            Subscription Agreement and all other necessary documentation in connection with such subscription
            on behalf of each such Beneficial Purchaser, each of whom is subscribing as principal for its own
            account, not for the benefit of any other person and not with a view to the resale or distribution of
            the Purchased Common Shares, and this Subscription Agreement has been duly authorized, executed
            and delivered by or on behalf of and constitutes a legal, valid and binding agreement of, such
            principal, and the Subscriber acknowledges that the Corporation and the Agent may be required by
            law to disclose the identity of each Beneficial Purchaser for whom the Subscriber is acting;

      (j)   in the case of a subscription for the Purchased Common Shares by a Subscriber acting as principal,
            this Subscription Agreement has been duly authorized, executed and delivered by, and constitutes a
            legal, valid and binding agreement of, the Subscriber. This Subscription Agreement is enforceable
            in accordance with its terms against the Subscriber and any Beneficial Purchaser; (k) if the
            Subscriber is:

             (i)      a corporation, the Subscriber is duly incorporated and is validly subsisting under the laws
                      of its jurisdiction of incorporation and has all requisite legal and corporate power and
                      authority to execute and deliver this Subscription Agreement, to subscribe for the
                      Purchased Common Shares as contemplated herein and to carry out and perform its
                      obligations under the terms of this Subscription Agreement;

             (ii)     a partnership, syndicate or other form of unincorporated organization, the Subscriber has
                      the necessary legal capacity and authority to execute and deliver this Subscription
                      Agreement and to observe and perform its covenants and obligations hereunder and has
                      obtained all necessary approvals in respect thereof; or

             (iii)    an individual, the Subscriber is of the full age of majority and is legally competent to
                      execute this Subscription Agreement and to observe and perform his or her covenants and
                      obligations hereunder;

            (l)     Agent has been appointed by the Corporation to act as the agent of the Corporation to offer
            the Common Shares under the terms of the Offering on a commercially reasonable efforts agency
            basis and, in connection therewith, the Corporation and the Agent will enter into, prior to, or as of
            the Closing Date, an agreement (the “Agency Agreement”) pursuant to which the Agent, in
            connection with the issue and sale of the Common Shares under the terms of the Offering, will
            receive compensation from the Corporation through a marketing commission. The Subscriber and
            each Beneficial Purchaser hereby irrevocably authorizes the Agent and any sub-agents to: (a) act as
            the Subscriber’s representative at the Closing and to execute in the Subscriber’s and each Beneficial
            Purchaser’s name and on the Subscriber’s and each Beneficial Purchaser’s behalf all closing receipts
            and documents required; (b) complete or correct any errors or omissions in any form or document
            provided by the Subscriber, including this Subscription Agreement and the schedules and exhibits
            hereto; (c) receive on the Subscriber’s and each Beneficial Purchaser’s behalf an ownership
            statement with respect to the Subscriber’s Common Shares; (d) approve any opinions, certificates
            or other documents addressed to the Subscriber; (e) exercise any rights of termination contained in
            the Agency Agreement; and (f) waive, in whole or in part, any representations, warranties, covenants
            or conditions for the benefit of the Subscriber and each Beneficial Purchaser contained in the
            Agency Agreement;

      (m)   the Agent, or any appointed sub-agents, will receive a commission equal to 10.0% of the gross
            proceeds of the Brokered Private Placement which shall be paid in cash.




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      (n)   Agent is acting as agent in this transaction and that all warranties, conditions, representations or
            stipulations, other than those relating solely to the Agent, whether express or implied and whether
            arising hereunder or under prior agreement or statement or by statute or at common law are expressly
            those of the Corporation. The Subscriber and each Beneficial Purchaser acknowledges that no
            information or representation concerning the Corporation has been provided to the Subscriber and
            each Beneficial Purchaser by the Corporation or the Agent other than those contained in this
            Subscription Agreement and the Agency Agreement and that the Subscriber and each Beneficial
            Purchaser is relying entirely upon this Subscription Agreement and the Agency Agreement for any
            representations or warranties in relation to the Corporation. Any information given or statement
            made (other than any information or statement relating solely to the Agent and furnished to the
            Corporation by the Agent) is given or made without liability or responsibility howsoever arising on
            the part of the Agent. No person in the employment of, or acting as agent of, the Agent has any
            authority to make or give any representation or warranty whatsoever in relation to the Corporation,
            the Common Shares. Any information given or statement made (other than any information or
            statement relating solely to the Agent and furnished to the Corporation by the Agent) is given or
            made without liability or responsibility howsoever arising on the part of the Agent, and the
            Subscriber and each Beneficial Purchaser hereby releases the Agent from any claims that may arise
            in respect of any such information given or statement made or in respect of this Subscription
            Agreement or the transaction contemplated hereby. The Subscriber further acknowledges that the
            Agent: (a) assumes no responsibility or liability of any nature whatsoever for the accuracy or
            adequacy of the public record of the Corporation or as to whether all information concerning the
            Corporation required to be disclosed by the Company has been generally disclosed; (b) has not
            engaged in any independent investigation or verification with respect to any of the information
            referred to in (a) above or in respect of the transactions contemplated hereby or the Corporation’s
            business, management or financial position; and (c) has not engaged and will not engage in any due
            diligence whatsoever on behalf of the Purchaser;

      (o)   Other than the Agent and any sub-agents appointed by them, if any, there is no person acting or
            purporting to act in connection with the transactions contemplated herein who is entitled to any
            brokerage or finder’s fee and if any person establishes a claim that any fee or other Common Shares,
            the Purchaser covenants to indemnify and hold harmless the Company and the Agent with respect
            thereto and with respect to all costs reasonably incurred in the defense thereof.

      (p)   if required by applicable Securities Laws or the Corporation or the Agent, the Subscriber will
            execute, deliver and file or assist the Corporation or the Agent in filing such reports, undertakings
            and other documents with respect to the issue of the Purchased Common

            Shares as may be required by any securities commission, stock exchange or other regulatory
            authority;

      (q)   the Subscriber covenants and agrees to comply with applicable securities legislation in the United
            States, and any other relevant securities legislation, rules, regulations, orders, or policies concerning
            the purchase, holding of, and resale of the securities purchased hereunder;

      (r)   the Subscriber, and each Beneficial Purchaser, if any, has been advised to consult its own legal
            advisors with respect to trading in the Purchased Common Shares and with respect to the resale
            restrictions imposed by the Securities Laws of the state in which the Subscriber or Beneficial
            Purchaser resides and other applicable securities laws;

      (s)   the Subscriber has received an offering memorandum in connection with the Offering and the
            Subscriber’s decision to subscribe for the Purchased Common Shares was not based upon, and the
            Subscriber has not relied upon, any verbal or written representations as to facts made by or on behalf
            of the Corporation or the Agent other than the offering memorandum and this Subscription
            Agreement;

      (t)   no person has made any written or oral representations:

             (i)      that any person will resell or repurchase the Purchased Common Shares or Underlying
                      Securities purchased hereunder;



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                   (ii)    that any person will refund the Subscription Price; or

                   (iii)   as to the future price or value of the Purchased Common Shares.

        (u)      the Subscriber confirms that the Subscriber (and, if the Subscriber is not purchasing as a principal,
                 each Beneficial Purchaser):

                   (i)     has such knowledge in financial and business affairs as to be capable of evaluating the
                           merits and risks of its investment in the Purchased Common Shares;

                   (ii)    is capable of assessing the proposed investment in the Purchased Common Shares as a
                           result of the Subscriber’s own experience or as a result of advice received from a person
                           registered under applicable securities legislation;

                   (iii)   is aware of the characteristics of the Purchased Common Shares and the risks relating to
                           an investment therein; and

                   (iv)    is able to bear the economic risk of loss of its investment in the Purchased Common
                           Shares;

        (v)      the subscription for the Purchased Common Shares has not been made through or as a result of, and
                 the distribution of the Purchased Common Shares is not being accompanied by any advertisement,
                 including without limitation in printed public media, radio, television or telecommunications,
                 including electronic display, or as part of a general solicitation; and

        (w)      the Subscriber shall promptly provide evidence of the foregoing representations and warranties at
                 any time or times as the Corporation or the Agent reasonably requires.

6.2                  Acknowledgements and Covenants of the Subscriber

                             The Subscriber, on its own behalf and, if applicable, on behalf of others for whom it is
acting hereunder, acknowledges, covenants, and agrees as follows:

        (a)      the Subscriber has received a copy of the Term Sheet setting out the principal terms of the Offering;

        (b)      no securities commission, agency, governmental authority, regulatory body, stock exchange or other
                 regulatory body has reviewed or passed on the merits of the Common Shares;

        (c)      the Purchased Common Shares shall be subject to statutory resale restrictions under the Securities
                 Laws of the state in which the Subscriber resides and under other applicable securities laws, and the
                 Subscriber covenants that it will not resell the Purchased Common Shares except in compliance with
                 such laws and the Subscriber acknowledges that it is solely responsible (and neither the Corporation
                 nor the Agent are in any way responsible) for such compliance;

        (d)      the Subscriber’s ability to transfer the Purchased Common Shares is limited by, among other things,
                 applicable Securities Laws.

        (e)      the certificates representing the Purchased Common Shares will bear, as of the Closing Date, legends
                 substantially in the following form and with the necessary information inserted:

                           “THE SECURITIES REPRESENTED HEREBY HAVE NOT BEEN
                           REGISTERED UNDER THE U.S. SECURITIES ACT OR UNDER ANY STATE
                           SECURITIES LAWS, AND THE SECURITIES REPRESENTED HEREBY MAY
                           BE OFFERED, SOLD, HEDGED, OR OTHERWISE TRANSFERRED ONLY (A)
                           TO EARTHWATER LIMITED, (B) PURSUANT TO AN EXEMPTION FROM
                           REGISTRATION UNDER THE U.S. SECURITIES ACT PROVIDED BY RULE 144
                           OR 144A UNDER THE U.S. SECURITIES ACT, IF AVAILABLE, AND IN
                           COMPLIANCE WITH
                           APPLICABLE U.S. STATE SECURITIES LAWS, OR (C) PURSUANT TO
                           ANOTHER EXEMPTION FROM REGISTRATION UNDER U.S. SECURITIES



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                     LAWS, PROVIDED THAT AN OPINION OF COUNSEL REASONABLY
                     SATISFACTORY TO EARTHWATER LIMITED IS PROVIDED TO THE
                     EFFECT THAT SUCH TRANSFER DOES NOT REQUIRE REGISTRATION
                     UNDER THE US. SECURITIES ACT OR ANY APPLICABLE STATE
                     SECURITIES LAWS.”

            provided, that, if any such Purchased Common Shares are being sold pursuant to Rule 144 of the
            U.S. Securities Act or a transaction that does not require registration under the U.S. Securities Act
            or applicable state securities laws, the legend may be removed by delivery to the registrar and
            transfer agent of the Corporation of an opinion of counsel, of recognized standing reasonably
            satisfactory to the Corporation, to the effect that such legend is no longer required under applicable
            requirements of the U.S. Securities Act;

      (f)   the Subscriber and each Beneficial Purchaser, shall execute, deliver, file and otherwise assist the
            Corporation and with filing all documentation required by the applicable Securities Laws to permit
            the subscription for and issuance of the Purchased Common Shares and Underlying Securities;

      (g)   the Corporation and the Agent are relying on the representations, warranties and covenants contained
            herein and in the applicable Schedules attached hereto to determine the Subscriber’s eligibility to
            subscribe for the Purchased Common Shares under applicable Securities Laws and the Subscriber
            agrees to indemnify the Corporation and the Agent, and each of their respective directors and officers
            against all losses, claims, costs, expenses, damages or liabilities which any of them may suffer or
            incur as a result of or arising from reliance thereon. The Subscriber undertakes to immediately notify
            the Corporation and the Agent of any change in any statement or other information relating to the
            Subscriber set forth in such applicable Schedules which takes place prior to the Closing Time;

      (h)   the Corporation and the Agent are relying on an exemption from the requirement to provide the
            Subscriber with a prospectus under the Securities Laws and, as a consequence of acquiring the
            Purchased Common Shares pursuant to such exemption, certain protections, rights and remedies
            provided by the Securities Laws, including statutory rights of rescission or damages, will not be
            available to the Subscriber;

      (i)   the Purchased Common Shares are being offered pursuant to exemptions from the registration
            requirements of under the U.S. Securities Act and outside the United States pursuant to the exclusion
            from the registration requirements of the U.S. Securities Act pursuant to Regulation S promulgated
            thereunder. Neither the Purchased Common Shares nor the Underlying Securities have been and
            neither will be registered under the U.S. Securities Act and may not be offered or sold in the United
            States or to U.S. Persons unless registered under such act or an exemption from the registration
            requirements of such act is available;

      (j)   the Subscriber, and each Beneficial Purchaser, if any, is responsible for obtaining such legal and tax
            advice as it considers appropriate in connection with the execution, delivery and performance of this
            Subscription Agreement and the transactions contemplated hereby;

      (k)   legal counsel retained by the Corporation is acting as counsel to the Corporation and legal counsel
            retained by the Agent is acting as counsel to the Agent and neither are acting as counsel to the
            Subscriber and the Subscriber may not rely on such counsel in any respect. The Subscriber should
            obtain independent legal advice with respect to the investment in the Purchased Common Shares.
            The Subscriber and, if applicable, any Beneficial Purchaser, have been advised to consult their own
            legal advisors with respect to trading in the Common Shares and with respect to the resale restrictions
            imposed by the securities laws in the jurisdiction in which the Subscriber resides and any Beneficial
            Purchaser for whom it is acting, and acknowledges that no representation has been made respecting
            the applicable hold periods imposed by any applicable securities laws or other resale restrictions
            applicable to such securities which restrict the ability of the Subscriber and any Beneficial Purchaser
            to resell such securities, that the Subscriber and any Beneficial Purchaser for whom it is acting is
            solely responsible to find out what these restrictions are and the Subscriber is solely responsible (and
            the neither Corporation nor the Agent are in any way responsible) for compliance with applicable
            resale restrictions, and the Subscriber is aware that it and any Beneficial Purchaser may not be able




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                  to resell such securities except in accordance with limited exemptions under United States securities
                  laws and other applicable securities laws;

         (l)      there is no government or other insurance covering the Purchased Common Shares;

         (m)      the Corporation may increase the maximum offering size in its sole discretion;

         (n)      there are risks associated with the purchase of the Purchased Common Shares, and the Subscriber it
                  has had access to such information concerning the Corporation as it has considered necessary in
                  connection with its investment decisions to invest in the Purchased Common Shares;

         (o)      the Subscriber has had an opportunity to ask questions of and receive answers from the Corporation,
                  or a person or person acting on the Corporation's behalf, concerning the terms and conditions of an
                  investment in the Purchased Common Shares and the business and affairs of the Corporation, and
                  all such questions have been answered to the full satisfaction of the Subscriber; and

         (p)      the Subscriber has not received, nor does it expect to receive any financial assistance from the
                  Corporation, directly or indirectly, in respect of the Subscriber's purchase of the Purchased Common
                  Shares.

         (q)      Neither the Agent, nor the Corporation, nor any of their respective affiliates, related entities and
                  associates, or any persons acting on its or their behalf, will in any circumstances be liable to the
                  Subscriber under, or arising out of or in any way connected with this Subscription Agreement for
                  any indirect or consequential loss or damage whether arising in contract or tort (including for
                  negligence or statutory duty);

         (r)      the Corporation’s counsel, J.P. Galda & Co., assumes no responsibility or liability of any nature
                  whatsoever for the accuracy or adequacy of the public record or as to whether all information
                  concerning the Corporation required to be disclosed by the Corporation has been generally disclosed;

         (s)      the Agent is not acting as financial or investment advisor to the Subscriber or as agents of the
                  Subscriber, except as set out in Section 6.1(l) of this Subscription Agreement, and insofar as is
                  necessary at Closing to facilitate payment for the Common Shares to the Corporation on behalf of
                  the Subscriber and to accept and deliver the evidence of the Underlying Securities to the Subscriber
                  after Closing and;

         (t)      he Subscriber, and each Beneficial Purchaser, if any, is not relying upon the Agent to conduct any
                  due diligence investigation on behalf of the Subscriber, or any beneficial purchaser for whom it is
                  contracting hereunder, concerning the Offering or the Corporation’s business, management,
                  financial position, condition or prospects.

6.3                   Reliance on Representations, Warranties, Covenants and Acknowledgements

                                The Subscriber acknowledges and agrees that the representations, warranties, covenants
and acknowledgements made by the Subscriber in this Subscription Agreement are made with the intention that they
may be relied upon by the Corporation and the Agent and their respective counsel and in determining the Subscriber’s
eligibility (and, if applicable, the eligibility of others for whom the Subscriber is contracting hereunder) to purchase
the Purchased Common Shares under the Securities Laws. The Subscriber further agrees that by accepting the
Purchased Common Shares, as the case may be, the Subscriber shall be representing and warranting that such
representations, warranties, acknowledgements and covenants are true as at the Closing Time with the same force and
effect as if they had been made by the Subscriber at the Closing Time and that they shall survive the purchase by the
Subscriber of the Purchased Common Shares and shall continue in full force and effect notwithstanding any
subsequent disposition by the Subscriber of any of the Purchased Common Shares.

                                       ARTICLE 7
                 SURVIVAL OF REPRESENTATIONS, WARRANTIES AND COVENANTS




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7.1                   Survival of Representations, Warranties and Covenants of the Corporation

                  The representations, warranties and covenants of the Corporation contained in this Subscription
Agreement shall survive the Closing and, notwithstanding such Closing or any investigation made by or on behalf of
the Subscriber with respect thereto, shall continue in full force and effect for the benefit of the Subscriber.

7.2                   Survival of Representations, Warranties and Covenants of the Subscriber

                 The representations, warranties and covenants of the Subscriber contained in this Subscription
Agreement shall survive the Closing and, notwithstanding such Closing or any investigation made by or on behalf of
the Corporation with respect thereto, shall continue in full force and effect for the benefit of the Corporation.

                                            ARTICLE 8
                                COLLECTION OF PERSONAL INFORMATION

8.1                 Collection of Personal Information

                                The Subscriber (on its own behalf and, if applicable, on behalf of any person for whose
benefit the Subscriber is subscribing) acknowledges and consents to the fact the Corporation is collecting the
Subscriber’s (and any Beneficial Purchaser’s) personal information for the purpose of completing the Subscriber’s
subscription. The Subscriber (on its own behalf and, if applicable, on behalf of any person for whose benefit the
Subscriber is subscribing) acknowledges and consents to the Corporation retaining the personal information for as
long as permitted or required by applicable law or business practices. The Subscriber (on its own behalf and, if
applicable, on behalf of any person for whose benefit the Subscriber is subscribing) further acknowledges and consents
to the fact the Corporation may be required by applicable Securities Laws to provide regulatory authorities any
personal information provided by the Subscriber respecting itself (and any Beneficial Purchaser). The Subscriber
represents and warrants that it has the authority to provide the consents and acknowledgements set out in this paragraph
on behalf of all Beneficial Purchasers.

                                                     ARTICLE 9
                                                     GENERAL

9.1                Further Assurances

                              Each of the parties hereto upon the request of each of the other parties hereto, whether
before or after the Closing Time, shall do, execute, acknowledge and deliver or cause to be done, executed,
acknowledged and delivered all such further acts, deeds, documents, assignments, transfers, conveyances, powers of
attorney and assurances as may reasonably be necessary or desirable to complete the transactions contemplated herein.

9.2               Notices

         (a)      Any notice, document or other communication required or permitted by this agreement to be given
                  by a party hereto shall be in writing and is sufficiently given if delivered personally, or if sent by
                  prepaid ordinary mail posted or if transmitted by any form of recorded telecommunication tested
                  prior to transmission, to such party addressed to such party as follows:

                    (i)     if to the Corporation, to:

                                    EarthWater Limited
                                    16220 Midway Road
                                    Addison TX 75001
                                    Tel: 469.802.6266
                              Email: accounting@earthwater.com

                   (ii) in the case of notice to the Subscriber, to the Subscriber’s residential address as set forth on the
                             face page to this Subscription Agreement.




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         (b)      Any such notice, direction or other instrument, if delivered personally, shall be deemed to have been
                  given and received on the day on which it was delivered, provided that if such day is not a Business
                  Day then the notice, direction or other instrument shall be deemed to have been given and received
                  on the first Business Day next following such day and if transmitted by fax, shall be deemed to have
                  been given and received on the day of its transmission, provided that if such day is not a Business
                  Day or if it is transmitted or received after the end of normal business hours then the notice, direction
                  or other instrument shall be deemed to have been given and received on the first Business Day next
                  following the day of such transmission.

         (c)      Any party hereto may change its address for service from time to time by notice given to each of the
                  other parties hereto in accordance with the foregoing provisions.

9.3                Time of the Essence

                  Time shall in all respects be of the essence of this Agreement.

9.4                Applicable Law

                             This Subscription Agreement shall be construed and enforced in accordance with, and the
rights of the parties shall be governed by, the laws of the state of Texas and the laws of the United States applicable
therein. Any and all disputes arising under this Subscription Agreement, whether as to interpretation, performance or
otherwise, shall be subject to the non-exclusive jurisdiction of the courts of the state of Texas and each of the parties
hereto hereby irrevocably attorns to the jurisdiction of the courts of such state.

9.5                Entire Agreement

                                    This Subscription Agreement, including the Schedules hereto, constitutes the entire
agreement between the parties with respect to the transactions contemplated herein and cancels and supersedes any
prior understandings, agreements, negotiations and discussions between the parties. There are no representations,
warranties, terms, conditions, undertakings or collateral agreements or understandings, express or implied, between
the parties hereto other than those expressly set forth in this Subscription Agreement or in any such agreement,
certificate, affidavit, statutory declaration or other document as aforesaid. This Subscription Agreement may not be
amended or modified in any respect except by written instrument executed by each of the parties hereto.

9.6                Costs and Expenses

                            All costs and expenses (including, without limitation, the fees and disbursements of legal
counsel) incurred in connection with this Subscription Agreement and the transactions herein contemplated shall be
paid and borne by the party incurring such costs and expenses.

9.7                Counterparts

                          This Subscription Agreement may be executed in two or more counterparts, each of which
shall be deemed to be an original and all of which together shall constitute one and the same Subscription Agreement.
Counterparts may be delivered either in original or faxed form and the parties adopt any signature received by a
receiving fax machine as original signatures of the parties.

9.8                Assignment

                               This Subscription Agreement may not be assigned by either party except with the prior
written consent of the other parties hereto.

9.9                Inurement

                            This Subscription Agreement shall inure to the benefit of and be binding upon the parties
hereto and their respective heirs, executors, successors (including any successor by reason of the amalgamation or
merger of any party), administrators and permitted assigns.




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              [THE REMAINDER OF THIS PAGE HAS BEEN LEFT INTENTIONALLY BLANK]
The Corporation hereby accepts the subscription for Shares as set forth on the face page of this Subscription Agreement
and the Corporation represents and warrants to the Subscriber that the representations and warranties made by the
Corporation to the Agent in the Agency Agreement (defined herein) are true and correct in all material resects as of
the Closing Date and that the Subscriber is entitled to rely thereon and on the terms, conditions and covenants
contained in the Agency Agreement (save and except as waived by the Agent) as if the Subscriber were a party thereto
and such representations and warranties were made to, and inserted for the benefit of, the Subscriber.

             Dated this                  day of _________________, 2019.



                                                     EARTHWATER LIMITED



                                                   Per:

                                                             Authorized Signing Officer




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                                                     SCHEDULE “B”


                                   ACCREDITED INVESTOR CERTIFICATE

   The undersigned Purchaser hereby certifies that it is an “accredited investor” as that term is defined in Rule
                   501 under the United States Securities Act of 1933, as amended (the “U.S.
  Securities Act”). The specific category(s) of institutional accredited investor applicable to the undersigned is
                                                  checked below.

    ALL REFERENCES TO DOLLAR AMOUNTS IN THIS SCHEDULE B ARE TO THE LAWFUL
                               CURRENCY OF THE UNITED STATES.
         If you are an accredited entity, please initial whichever of the following is applicable to you:
                          (a)     a bank as defined in Section 3(a)(2) of the U.S. Securities Act, or a
                                  savings and loan association or other institution as defined in Section
                                  3(a)(5)(A) of the U.S. Securities Act, whether acting in its individual or
                                  fiduciary capacity; any broker dealer registered pursuant to Section 15
                                  of the U.S. Securities Exchange Act of 1934; an insurance company as
                                  defined in Section 2(a)(I3) of the U.S. Securities Act; an investment
                                  company registered under the Investment Company Act of 1940 (the
                                  “1940 Act”) or a business development company as defined in Section
                                  2(a)(48) of the 1940 Act; a small business investment company licensed
                                  by the U.S.
                                  Small Business Administration under Section 301(c) or (d) of the Small
                                  Business Investment Act of 1958; a plan established and maintained by
                                  a state, its political subdivisions, or an agency or instrumentality of a
                                  state or its political subdivisions, for the benefit of its employees, if such
                                  plan has total assets in excess of $5,000,000; an employee benefit plan
                                  within the meaning of Title
                                  I of the Employee Retirement Income Security Act of 1974 (“ERISA”),
                                  if the investment decision is made by a plan fiduciary, as defined in
                                  Section 3(21) of ERISA, which is either a bank, savings and loan
                                  association, insurance company or registered investment adviser, or if
                                  the employee benefit plan has total assets in excess of $5,000,000 or if
                                  a self-directed plan, with investment decisions made solely by persons
                                  that are accredited investors;




                             (b)      a private business development company as defined in Section
                                      202(a)(22) of the Investment Advisers Act of 1940;

                             (c)      an organization described in Section 501(c)(3) of the Internal Revenue
                                      Code, corporation, Massachusetts or similar business trust, or
                                      partnership, not formed for the specific purpose of acquiring the
                                      Common Shares, with total assets in excess of $5,000,000; or



                             (d)      a trust, with total assets in excess of $10,000,000 not formed for the
                                      specific purpose of acquiring the securities offered, whose purchase is
                                      directed by a sophisticated person, being defined as a




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                                 person who has such knowledge and experience in financial and
                                 business matters that he or she is capable of evaluating the merits and
                                 risks of the prospective investment.

                         (e)     if none of the above statements is applicable, the undersigned
                                 corporation or partnership certifies that it is an “accredited investor”
                                 because each of its shareholders or partners meets at least one of the
                                 following conditions:

                                  (i)     The shareholder or partner is a natural person whose
                                          individual net worth or joint net worth with his spouse exceeds
                                          $1,000,000;

                                  (ii)    The shareholder or partner is a natural person who had an
                                          individual income in excess of $200,000 or joint income with
                                          his spouse in excess of $300,000 in the previous two calendar
                                          years and who reasonably expects to have an individual
                                          income in excess of $200,000 or joint income with his spouse
                                          in excess of $300,000 for the current calendar year;

                                  (iii)   The shareholder or partner is a corporation, partnership, trust
                                          or other entity which meets the description of at least one of
                                          the organizations specified in (a) – (d) above.




            IN WITNESS WHEREOF, the undersigned has executed this Institutional Accredited Investor
   Certificate this _____ day of ____________________, 2019.




                                                        Signature




                                                        Printed Name




                                                                                           DOJ-EW-0000009556
